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     IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF FLORIDA
                 PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                         Case No. 5:20cr28-MW/MJF

MARGO DEAL ANDERSON, et
al.,

                      Defendants.

_______________________________/

         GOVERNMENT’S (REDACTED) SUPPLEMENTAL
         RESPONSE TO DEFENSE MOTIONS TO DISMISS

      On November 16, 2021, a federal grand jury returned a 26-count

second superseding indictment in this case against Defendants Margo

Anderson and James Finch. ECF 214. Defendants have filed four motions

to dismiss the second superseding indictment.

      Pursuant to their request for a two-hour evidentiary hearing on

non-specific matters raised in their motions, and without identifying any

material factual dispute, the Court indulged Defendants by holding a

three-day proceeding, which was essentially a mini-trial on a

smorgasbord of claims of government misconduct plainly designed to

avoid at any cost a trial on the merits of the case; a case that,

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fundamentally, concerns whether Defendant James Finch bribed

Defendant Margo Anderson and another City Commissioner (who has so

admitted), whether Defendants lied to the FBI, and whether Defendant

Anderson was on the take from others in ways that are factually

intertwined with the rest of the case.

      The government respectfully submits this supplemental response

following the evidentiary hearing.1 For the following reasons, some stated

before, but some not, this Court should deny the motions to dismiss and

set the case for trial.2

      I.     Background

      As the government knows, this Court has often said that facts

matter. And indeed they do. Some, but not all, of the facts presented here

have been presented before. At the risk of being duplicative, some are

presented again here to create a single, comprehensive narrative for the

Court’s always thoughtful consideration. Some of those reasons include



      1
        This redacted version is filed on the public docket pursuant to Local Rule
5.5(D) and also corrects several scrivener's errors identified in the redaction process.
      2 The government regrets the length of this filing. But it is necessary to
comprehensively respond to the Defendants’ submissions. As indicated at the
hearing, the government has endeavored to address every issue raised by the defense,
document by document.


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the behavior of Defendants and defense counsel. In putting forward those

reasons, the government does not mean to “take aim”3 at defense counsel

but to provide the Court a complete understanding of the surrounding

circumstances and respond to the misstatements of defense counsel at

the evidentiary hearing and in their supplemental briefs.

         The factual allegations about the pending charges are described at

some length in the second superseding indictment. ECF 214. In sum, it

details how Defendant Finch bribed a Lynn Haven City Commissioner

($45,000 worth of checks, which the Commissioner has admitted he

accepted in return for official acts)4 and then Mayor, Defendant Anderson




         3 In their pending motions to dismiss, both Defendants criticized the
government for seeking attorney-fee records. In its response, the government
addressed, briefly, why it believed that action was warranted, and the case law
supports the government seeking admission at trial of evidence of one conspirator
procuring and paying for counsel for another conspirator. In their replies, Defendants
criticized the government for addressing the issue, stating that government “again
takes aim at defense counsel” and “refuses to let the issue go.” ECF 241 at 17.
Respectfully, if the defense did not want the government to go there in its response,
perhaps they should not have raised the issue in their motions with an expectation
that the government should not have a fair opportunity to respond. Defendants have
attacked the government again about the same issue in their supplemental papers,
and so a response is warranted. It is also fair to note that across two motions, two
replies, two lengthy supplemental papers, and three days of a hearing, defense
counsel expressly took aim at the government attorneys and law enforcement, with
multiple false accusations of wrongdoing.

         4   See United States v. Barnes, 5:21cr31, ECF 12 ¶¶10, 13 (N.D. Fla. Oct 6,
2021).
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(a free Motorhome and numerous travel), before Hurricane Michael

struck in October 2018.

      The second superseding indictment describes at some length City

projects, including the 17th Street ditch and the ½ Sales Tax Contract.

This was done for several reasons. First, it sets out official acts taken by

Commissioner Barnes whilst Defendant Finch provided him with

$45,000 in “loans” that were never repaid, and which Commissioner

Barnes admitted he solicited and accepted with the understanding he

was expected to support Defendant Finch’s projects in return. Second,

while Defendant Anderson voted on projects and performed ministerial

acts related to them, the second superseding indictment details her

pressuring then City Manager Michael White to take official action for

Defendant Finch’s benefit. Third, the defense complained, in several

earlier motions, that the March 2021 superseding indictment was not

sufficiently specific.

      After the hurricane, Defendant Anderson procured and accepted

hurricane cleanup at her residence and that of her relatives, which she

was not entitled to, by a City contractor (ECS) who was defrauding the




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City. Defendant Anderson is not charged with the entirety of ECS’

scheme; only the portion that relates to her property and her relatives.

     Defendant Anderson agreed to accept free adjustment services from

a company after the City Manager told her she would get those services

should the company (WorldClaim) get the City business. The City

Manager agreed to accept free services of his own and a cash kickback

through an intermediary and sought to collect on the arrangement for

himself, another commissioner, and Defendant Anderson. This is a

classic quid pro quo bribe/kickback.

     While Defendant Finch was absent from Lynn Haven for medical

reasons until about October 31, 2018, Defendant Anderson prevented the

City from disposing of certain hurricane debris on City property and,

upon Defendant Finch’s return, steered that hurricane recovery business

to Defendant Finch to his ultimate benefit, and taxpayer detriment, of

approximately $3.4 million.

     When suspicions of ECS’s fraud arose, and other persons were

indicted for it, Defendant Anderson lied to the FBI about her involvement

with and knowledge of ECS’ activities and sought to cover up the bribes

from Defendant Finch by paying Defendant Finch some money (obtained


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from her insurance settlement) for the Motorhome some 22 months after

Defendant Finch provided it to her and her husband at no charge, just

after she had pressured the City Manager to do things Defendant Finch’s

way. Defendant Finch lied to the FBI about the nature of the Motorhome

transfer. After Defendant Anderson was charged, and the charges

implicated Defendant Finch, Defendant Finch has paid his longtime

lawyer at least half a million dollars to represent Defendant Anderson.

         Defendant Margo Anderson is apparently a retired schoolteacher.

In 2009, she filed for bankruptcy under Chapter 7.5 Her petition listed

$210,133.90 in assets, almost entirely her home at 513 Tennessee Avenue

in Lynn Haven, $292,457 in debts, and a current monthly income of

$4,844.6 Defendant Anderson’s spouse, Virgil Lee Anderson Jr., who

reportedly worked on Defendant Finch’s car racing team for some time,

filed for bankruptcy the next year.7 His petition listed $10,025 in assets

and $88,939 in debts, and a current monthly income of $4,708. Id. The

bankruptcy petitions indicate that the Andersons were of limited means,


         5   In re Anderson, 09:50701-LMK, ECF 1 (N.D. Fla. Bankr. Oct. 8, 2009).

         6   Id. at 4-5.

         7   In re Anderson, 10-50337-LMK, ECF 1 at 4-5 (N.D. Fla. Bankr. Apr. 29,
2010).
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Defendant Anderson asked him to perform work at her house and her

mother’s house, and his crew worked at those locations. 24 When Josh

Anderson returned to Defendant Anderson’s residence a couple days after

the crews had finished, the place was flawless.25 The yards looked good.26

The beds around the houses had been cleaned, etc.27 Approximately ten

ECS workers (or subcontractors)            were there performing work.



               this work (and similar work on Michael White’s property

and another private property) was completely outside of what the city

should have paid for,           it was a matter of city officials taking

advantage of the situation.                        although there is a 20-

foot easement behind Defendant Anderson's house, this easement is on

her neighbor's property, and not hers.              the fact that trees fell

on her property are not the responsibility of the city, and instead were




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her responsibility, just as all the other property owners in the city had to

take care of. 28

                               A stormwater easement does not oblige the

holder to clear felled trees on the easement. By way of analogy, if a city

has an easement for an underground water pipe across the front yard

into one’s home, it does not oblige the city to mow the lawn, rake leaves,

or pick up felled branches or trees. But the easement is not on Defendant

Anderson’s property. Under Florida law, where a live tree falls on an

adjoining property and damages that property, the adjoining property

landowner is responsible for the damages and not the owner of the

property where the tree was rooted. See 1 Fla. Jr 2d Adjoining

Landowners §8 [2014]; Gallo v. Heller, 512 So. 2d 215, 216 (Fla. 3d DCA

1987); see also Balzer v. Ryan, 263 So. 3d 189 (Fla. 1st DCA 2018); Scott

v. McCarty, 41 So. 3d 989, 989 (Fla. 4th DCA 2010).

      On March 17, 2019, Michael White was arrested for a domestic

violence incident               .29




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                                                On March 19, 2019, BCSO

Captain                 obtained a warrant to search Michael White’s cell

phone regarding the domestic violence incident.31

                                   following the release of Michael White

from jail (March 19),                 called Mickey White and related he

(                got a call from Defendant Finch. Defendant Finch asked

               to come to Defendant Finch’s office.32              relayed

to Mickey White that ECS invoices were laid out at Finch’s office, and

Finch said Defendant Anderson was going to the Sheriff about ECS. 33

According to Mickey White,                   said he told Defendant Finch

not to go through with his plan, and said “don’t give it to them, make

them come get it.”34

      The BCSO began analyzing Michael White’s cell phone.35 There

were concerning text messages on the phone between Michael White and


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Mickey White about bids, and indications that Michael White was fixing

tickets as a bargaining chip.36

     On March 22, 2019, the Sheriff received information from the Lynn

Haven Police Chief about Michael White. The Chief reported that

Michael White was living above his means and a source indicated that

Michael White had recently deposited a $300,000 check from the sale of

his farm to Mickey White. The Chief said Defendant Anderson was

concerned about money paid to ECS.



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     Soon Michael White resigned as City Manager. According to

Michael White,                    promised that if Michael White did not get

a severance package,                   and Defendant Finch would pay him

$30,000.38

     On March 27, 2019, BCSO advised FBI Special Agent Borghini that

in a search of Michael White’s cell phone, the BCSO observed information



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and texts that appeared to indicate corruption. The FBI requested,

and AUSA Kunz approved, a grand jury subpoena for phone records for

Michael White, Mickey White,                    and James Finch, which

was issued on March 29, 2019.39 A meeting between the FBI and the

BCSO to discuss the investigation in Lynn Haven took place on April 1,

2019, at 10:00am.

     On April 1, 2019, that meeting was held. Later that day, Defendant

Anderson met with the Sheriff and asked that office to investigate

Michael White’s dealings with ECS.40 The Sheriff’s Office appointed Lt.

Jeremy Mathis, Investigator Aubrey Chance, and Analyst

to investigate. On April 4, 2019, the Sheriff, this group, Major Jimmy

Stanford, and Special Agent Borghini met to discuss the case. 41 On April

10, 2019, the FBI obtained a federal search warrant for Michael White’s

cell phone.42 On April 11, 2019, Lt. Mathis obtained a state court search

warrant for ECS’ place of business.



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     In interview reports disclosed to the defense in July 2021 (the

substance of which was already disclosed in an earlier government filing,

ECF 157 at 4), Mickey White told the government that

subsequently called Mickey White and asked if he had any invoices or

documentation for the work done at Defendant Anderson’s property.

Mickey White told                  “no.”              told him “you better

get some and bring them to me.”43 Mickey White’s cell phone records show

that, after two prior attempts,                called him at 12:01pm on

April 11, 2019, in a conversation lasting 42 seconds.44 According to

Mickey White, he already had documents that showed how many people

were working at Defendant Anderson’s property and the equipment that

was used.45

     Based on                     instructions, Mickey White had an ECS

employee,                   , create invoices and back-date them to

November 2018. Mickey White says he told         to create invoices so they

would accurately reflect Defendant Anderson's information and the work


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that was completed on her property, her mother’s property next door, and

her relative’s property next to her mother’s residence. To create the new

invoices, Mickey White called people to verify the work that was done.

Mickey White told         which dates to use on the invoices. Mickey White

had three invoices created for the work that was done on Defendant

Anderson's property. That evening, Mickey White delivered the invoices

to                  during a meeting at the Blue Moon Bar and Grill,

Defendant Finch’s restaurant.46 The two were drinking alcohol.47

        again said that the FBI was “coming” but did not say how he knew

this or when.48                     did not specifically mention a search

warrant.                                                  was “halfway full of

shit” and liked to "play mind games and pretend that he knew

everything” and for this reason Mickey White “didn’t pay it no




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       48DX 42                                 According to Mickey White,
       said this before on Halloween, which would have been several months before
the investigation began.


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attention.”49 Mickey White took no action based on

statements and went home.50

     The government obtained                     s phone records as part of

its investigation of him. As far as the government can tell, they disclose

no phone contact between                    and Major Stanford (or anyone

else at the Sheriff’s office) prior to the search. They do, however, disclose

a call between                  and Defendant Finch the evening of April

10, and around 8:19 am on April 11, 2019, not long before

called Mickey White to have the latter create the invoices.51 Defendant

Finch presumably knows the substance of those conversations. But the

government does not.

     The early morning of April 12, 2019, the FBI and BCO searched

ECS pursuant to a state court search warrant. Mickey White was not

there when law enforcement arrived but came soon after. His phone

records indicate he tried to call                   and Defendant Finch.

While the search was ongoing,                             had two phone


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conversations, at around 8:30 am, with Defendant Finch, and another

later that morning.52

     During the search, FBI Special Agents Borghini and Heather

Johnson interviewed Mickey White, with Major Stanford present. Mickey

White admitted that Defendant Anderson asked him to perform work at

her house and her mother’s house, and his crew worked there. Mickey

White then asked for an attorney and that ended the interview.53 During

the search, law enforcement found backdated invoices for the properties

in question, along with the following note, which was disclosed to the

defense in September 2020 (to Defendant Anderson, which quickly made

its way to Defendant Finch and                  and again in March 2021

(all Defendants):




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     The investigation continued.

                         Defendant Finch stated he would not be indicted

on federal charges but                  and               (Mickey White)

would be indicted.

     On November 18, 2019, FBI Special Agents Borghini and Kevin

Cwirka interviewed Defendant Anderson. In the interview, Defendant

Anderson claimed that that she did not know anything about ECS and

was not aware of its role in the cleanup.54 Defendant Anderson claimed




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that she first met Mickey White in December 2018 or January 2019 while

volunteers were cleaning up streets.55

     The indictment against Michael White, Mickey White, Josh

Anderson, and others, was unsealed the next day on November 19,

2019.56 The indictment specifically alleged that Michael White directed

City employees to pay an ECS invoice for $527,512, which falsely claimed

that ECS had performed work at a cemetery and sports complexes when

in fact ECS workers were at Michael White’s property (outside of Lynn

Haven) and the residences of “the Mayor and her mother.”57

     In December 2019, Defendant Anderson retained attorney Ron

Johnson to represent her. On December 30, 2019, a check from the

Anderson’s joint bank account was signed by Lee Anderson and made out

to Defendant Finch, $20,000 for the Motorhome.58

     On February 25, 2020, Michael White pleaded guilty to four counts

of that indictment, conspiracy to commit wire fraud, wire fraud, and



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     56   United States v. White et al, 5:19cr78-RH/MJF, ECF 12 (N.D. Fla.).

     57   5:19-cr-00078, ECF 1 ¶22.

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honest services wire fraud (two counts). In the statement of facts, among

other things, Michael White admitted that he directed the City to pay

invoices from ECS that falsely claimed ECS personnel worked at a

cemetery and sports complexes when the workers were actually at

Michael White’s property, David Horton’s property, Adam Albritton’s

property, another City Commissioner’s property, Defendant Anderson’s

property, and that of her relatives. Michael White also admitted to honest

services wire fraud relating to his approval of false invoices submitted to

the City in exchange for the sale of real property (a farm that Mickey

White owned). Michael White also admitted to accepting cash from

Mickey White.59 That same day, Mickey White pleaded guilty to four

counts of that indictment: conspiracy to commit wire fraud, two counts of

wire fraud, and one count of filing a false claim. In the statement of facts,

among other things, Mickey White admitted that he submitted to the

City false invoices from ECS that falsely claimed ECS personnel worked

at a cemetery and sports complexes when the workers were actually at

Michael White’s property, David Horton’s property, Adam Albritton’s




     59   5:19-cr-00078, ECF 64, 65 & 66.


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property, another City Commissioner’s property, Defendant Anderson’s

property, and that of her relatives. Additionally, Mickey White admitted

that he submitted a false invoice in the amount of approximately

$180,000 on behalf of ECS to the City that falsely claimed ECS personnel

worked at City locations when the ECS workers were actually working

at locations outside of Lynn Haven, and a false invoice in the amount of

approximately $332,000 that falsely claimed that his workers conducted

trash pick-up in the City for a period of time when they had not done so.

Mickey White also admitted to causing the submission of a false claim to

FEMA by the City of Lynn Haven relating to reimbursement for the false

$332,000 invoice.60

     On March 19, 2020, Joshua Anderson pleaded guilty to wire fraud.

Joshua Anderson admitted that he submitted a false invoice to the City

for services provided at 37 properties when his employees were actually

working for ECS and performing debris clean up, for which ECS billed

the City, the City paid ECS, and ECS paid Joshua Anderson.61




     60   5:19cr78, ECF 70, 71 & 72

     61   5:19cr78, ECF 81, 82, & 83.


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     1:29 pm: Margo Anderson (418 seconds)

     5:58 pm:                 (15 seconds)

     The grand jury returned the original indictment in this case under

seal on August 18, 2020. ECF 1. On August 19, 2021, pursuant to a

federal seizure warrant, law enforcement seized the Motorhome at the

Andersons’ residence in Lynn Haven and attempted to execute an arrest

warrant. Defendant Anderson was not there. Law enforcement informed

                 that some of the charges included the clean up on the

property.                said the City was responsible for cleaning up the

easement and then pivoted to claim that the only trees cleaned up were

in the roadway. When law enforcement told him they had aerial pictures

showing that to be false,                discontinued the conversation.64

That same day, the FBI arrested Defendant Anderson in Jacksonville,

Florida, and had an initial appearance there. ECF 19. That same day,

there were 18 phone calls made or attempted between                   and

James Finch.65




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     On August 24, 2020, retained Attorney Ronald Johnson entered an

appearance for Defendant Anderson. ECF 24.

     On August 25, 2020, the Court held an initial appearance for

Defendant Anderson. While the Court was considering release

conditions, Attorney Johnson requested that Defendant Anderson be

allowed to have contact with Defendant Finch (who was not charged at

the time but was described as an unindicted co-conspirator in the original

indictment) to maintain a social relationship without discussing the case.

ECF 114 at 15. Attorney Johnson also asked that Defendant Anderson

be able to communicate with Defendant Finch in the presence of counsel

to prepare for trial. ECF 114 at 25. The government objected, noting that

it was clear that Defendant Finch would be a witness. ECF 114 at 25.

The Court, Judge Fitzpatrick, stated that if Defendant Anderson needed

to communicate with an identified witness, there would need to be

another hearing, but Defendant Anderson was to avoid contact with any

person who is or may be a victim or witness, though she was not bound

until she received such a list from the government. ECF 114 at 25-27, 33.

The Court entered an order setting standard release conditions,

including a requirement to “avoid all contact, directly or indirectly, with


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any person who may be a . . . witness in the investigation or

prosecution.”66 ECF 27 at 2.

      In August 2020, after the original indictment was unsealed,

Defendant Finch contacted his longtime lawyer, Mr. Vezina. According

to counsel, Defendant Finch inquired about the indictment, the

allegations (which alleged Defendant Finch committed illegal acts,

though not by name), and solicited legal opinions. ECF 167 at 20-21.

      On August 26, 2020, Countrywide Surveying did a boundary survey

on Defendant Anderson’s property at                           apparent request.

The survey recognized the easement on the adjoining property, 510

Virginia Avenue.67

      On September 4, 2020, the government responded to Defendant

Anderson’s initial discovery request with a lengthy letter itemizing its

initial production. While the letter represented that the government did




      66  Defendant Anderson’s demonstrated violation of this release condition,
which was repeated, blatant, and accomplished through surreptitious means, is
relevant both to the discovery/production issues and Defendant Anderson’s complaint
that the government did not provide a fuller no-contact list until sometime later.

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not have additional Brady information at that time,68 it indicated the

government was compiling available Giglio information.69

      On September 10, 2020, Defendant Anderson paid Attorney

Johnson with a check for $15,000.70

      On September 11, 2020, Defendant Finch provided                              a

check for $8,000, with a notation it was a “loan.”71

      Defendant Anderson flagrantly violated the release condition

regarding contact with Defendant Finch. Except for some calls in late

December 2020, calls between Defendant Finch and Defendant

Anderson’s phone stop abruptly on August 22, 2020.72 Between August



      68  Whether information is actually encompassed by Brady depends on a
determination that there is a reasonably probability that the outcome of the
proceeding would be different. See United States v. Bagley, 473 U.S. 667, 682 (1985).
In hindsight, the letter probably should have said “We do not have information which
we have identified as favorable to the defense to provide but we are working to
compile additional information which might arguably be favorable to the defense in
accordance with Department policy and the Court’s pretrial orders,” which would
have been a more accurate description of the government’s efforts and intent.

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      72An additional reason for the cessation may be that Defendant Anderson’s
phone belonged to the City, and she had to transfer the number to a private account
at T-Mobile.


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20, 2020, and April 12, 2021, there were 368 calls between Defendant

Finch and                           cell phone. Recalling that Defendant

Anderson’s attorneys moved for substitution on October 2, 2020, there

were a significant number of phone calls between Defendant Finch’s cell

phone and Defendant Anderson’s attorneys’ cell phones73 prior to

counsel’s appearance in the case on October 2, 2021, interspersed around

calls between Defendant Finch and                          phone.74

       On October 2, 2020, defense counsel appeared for Defendant

Anderson. A few days later, the Court held a status conference.75

During the conference, the Court granted an unopposed motion to

continue the trial to March 2021. The Court directed the parties to

submit a proposed pretrial schedule. The parties later agreed to a

January 1, 2021, pretrial motion deadline. ECF 45. After the hearing,

there were 4 calls between Defendant Finch’s phone and

phone totaling approximately 14 minutes.




      73 In the opening statement, Mr. Lewis stated, without any conceivable factual
basis, that the government had obtained his phone records and contacts with Mr.
Vezina.                                                           That is not true.

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      75   ECF 41.
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      On October 27, 2020,                   (more on him later) told the

FBI that                  came to his house said that he (

was concerned about Adam Albritton and Defendant Finch, and

apparently                     had access to discovery provided to either

Defendant Anderson or Defendant Albritton’s attorneys.76 Phone

records indicate that between August 20, 2020, and October 15, 2020,

there were approximately 134 calls made or attempted between

          and James Finch.77

      On or about December 18, 2020, Defendant Finch submitted some

materials to the Bay County Sheriff. The materials included a statement

by Defendant Finch criticizing the original indictment, a certificate

showing his completion of a rehabilitation program on October 30, 2018,

and a news article critical of the prosecutor on the case at the time.78

     On December 31, 2020, Defendant Anderson’s attorneys filed a

motion to dismiss several counts of the original indictment. On January




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     78   ECF 228-1.
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4, 2021, the Court ordered the government to file expedited responses to

pending defense motions by January 12, 2021.79

           On January 5, 2021, the U.S. Attorney’s Office leadership, the

prosecutors, and the FBI met with Defendant Anderson’s three

attorneys of record at their request. During the meeting, Defendant

Anderson’s attorneys presented information that the City Commission

approved Defendant Finch’s projects (including the 30-year promissory

note),80 that she and Defendant Finch were just friends with no corrupt

bargain between them, that she simply had the City Manager clean up

a city easement, and that she declined free services from WorldClaim.

That presentation missed the point, in the government’s view, because

the prosecution theory,                                                            was

primarily that Defendant Anderson pressured City officials with respect

to Defendant Finch’s projects (say, by steering $3.4 million of hurricane




      79   ECF 53.

      80 This information caused the government to remove allegations related to the
promissory note from the superseding indictment, and there is no allegation in the
second superseding indictment that Defendant Anderson did this without
Commission approval; the charging document accurately alleges it was approved.
Regarding the City Commission votes, these are official acts, and it is not a legal
defense that the project was a good idea, that the official would have taken the official
act anyway, or that the project would have been approved without the official’s action.
                                           31
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recovery business to him, and overruled the City Manager about the

conduct of Defendant Finch’s other projects), that Defendant Anderson

took many benefits from Defendant Finch and they covered up the

nature of the largest one (the Motorhome), that

                          her minimalistic description of the work done

at her property by ECS was not accurate, and Defendant Anderson

agreed to accept the WorldClaim benefits in exchange for a contract

with the City and later balked when the stark reality of the quid was

spelled out in bold on a written contract.

     Prior to the meeting, the U.S. Attorney informed the prosecution

team that he knew Mr. Vezina from private practice, had great respect

for him, but thought it was unusual for him to appear on a federal

criminal case. The U.S. Attorney indicated that he was concerned that

counsel’s presence may have been procured/financed by other subjects or

targets of the investigation. The FBI responded that it was aware of the

$200,000 check from September 30, 2020, and that counsel had

represented Defendant Finch’s business in the past. So, the government

was surprised when, during the meeting, Mr. Judkins indicated that Mr.




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Vezina’s presence on the case was some sort of happenstance (an

assertion Mr. Vezina affirmed). It clearly was not.81

      On January 12, 2021, the government met with Defendant Finch’s

counsel. During the meeting, defense counsel apologized for Defendant

Finch submitting the materials to the Sheriff in December 2020 and said

Defendant Finch should not have done so. Defense counsel requested that

Mr. Finch be able to testify before the grand jury before he was charged

and asked to send a letter outlining Mr. Finch’s position.

      On January 18, 2021, Mr. Lewis sent the government a letter. ECF

228-2. The letter included certain factual assertions and conclusions to

the effect that Defendant Finch was innocent, and he should not be

charged.

      On January 29, 2021, the Court granted in part defense motions to

dismiss. ECF 60. Relevant here, Defendant Anderson moved to dismiss

Count 29 of the original indictment (relating to federal program fraud)

because it did not incorporate by reference factual allegations elsewhere

included in that indictment and moved to dismiss Count 63 (relating to



      81 The government does not believe, and does not mean to suggest, that Mr.
Judkins intended to deceive. Perhaps he was unaware. Mr. Judkins withdrew as
defense counsel in April 2021.
                                      33
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false statements to a federal agency) as failing to allege essential facts;

that is, which federal agency Defendant Anderson allegedly lied to. ECF

49. In an expedited response on January 12, 2021, the government

conceded that, under case law identified by Defendant Anderson, Count

29 should have had the referenced specific incorporation of other

allegations but argued Count 63 was sufficient, pointing to materially

similar charges that were upheld in another case. ECF 55. The Court said

it was an “extraordinarily close call” but that Count 63 omitted which

agency Defendant Anderson allegedly made the false statement to and,

noting the government indicated it was pursuing a superseding

indictment, dismissed Count 63 as well as Count 29. 82 ECF 60 at 16-17.

      Two days before that order, on January 27, 2021, the government

and another defendant (who since pleaded guilty to some charges) filed a

joint motion to continue the trial. ECF 56. Defendant Anderson opposed




      82 As far as the government can tell, the Court never “ordered the government
to ‘clean up’ the original indictment,” as Defendant Finch has repeated time and
again in his papers. See, e.g., ECF 228 at 5 n.6. In a ruling on a motion brought by
then Defendant Albritton, the Court determined that some traditional wire fraud
counts relating to the same wires as honest services fraud counts were multiplicious
and, rather than merging counts at sentencing or addressing the issue with jury
instructions, and because the government was seeking a superseding indictment
anyway, the Court directed the government to consolidate both theories into single
counts. ECF 60 at 14.
                                        34
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the motion. ECF 58. A substantial part of the government’s motivation

for the request was that the lead prosecutor had been suffering from a

significant case of COVID-19 and was out of pocket for a time, which was

intended to be spent working on this case.

     On February 3, 2021, during a hearing on the continuance request,

the Court also indicated its desire to have the superseding indictment

returned more than 30 days before a new May 3, 2021, trial date.83 The

government indicated it was planning to obtain a superseding indictment

within 30 to 40 days, and that the superseding indictment may include

additional matters.84 Accordingly, the government scheduled the

extended grand jury, which had previously heard evidence in the matter,

to meet on March 16, 2021, to consider a superseding indictment and

meet the Court’s requested timetable.

     On March 9, 2021, because Mr. Lewis, representing Defendant

Finch, had asked for the opportunity, the government sent Mr. Lewis a

letter via email inviting Defendant Finch to testify before the grand jury

on March 16, 2021. The letter included standard warnings about rights



     83   ECF 99 at 36.

     84   ECF 99 at 22-23.
                                   35
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a witness would be giving up by so testifying, which warnings are

required by Justice Department policy. ECF 228-3 (invitation letter);

Justice Manual §9-11.151. On March 10, 2021, Attorney Lewis sent a

letter to the government via email stating Mr. Finch was “anxious to

testify before the Grand Jury” but that there was insufficient notice of

the grand jury date, that this attorney had an (unspecified) conflict on

March 16, and that it seemed the government was “using the Grand Jury

to investigate the defense as proffered in court.”

     Defendant Finch now says that his status changed from witness to

target only after Defendant Anderson’s counsel indicated in a January

28, 2021, pleading (opposing a continuance) that Defendant Finch would

be an exculpatory witness for Defendant Anderson.85 That is not correct.

As defense counsel well knew, see ECF 228 at 2 n.1, Defendant Finch was

described (though not by name) as an unindicted co-conspirator in the

August 18, 2020, indictment, and defense counsel had asked for a

meeting (held on January 12) and written a letter (dated January 18)

asking that Defendant Finch not be charged.




     85   ECF 228 at 5.
                                    36
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     The government made the decision to propose charges against

Defendant Finch to the grand jury and had previously requested its

meeting on March 16. This was the same (extended) grand jury that

returned the original indictment in August 2020. So, on March 12, 2021,

the government responded to Defendant Finch’s counsel that the

invitation to testify on March 16 remained open.86 The government

further explained that it had represented to the Court at the February 3

status conference that it would attempt to obtain a superseding

indictment within 30 to 45 days and could not delay the proceeding. But

Defendant Finch did not appear.

     On March 16, 2021, the grand jury returned a superseding

indictment adding charges against Defendant Finch and former

Commissioner Antonius Barnes, with mostly the same substance of the

charges against Defendant Anderson. ECF 64. Regarding the March 16

superseding indictment, Defendant Finch’s current motion incorrectly

asserts that the “the government declined [to present exculpatory

evidence in accordance with Justice Department policy] because it




     86   ECF 228-4.


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‘disagreed with [our] characterization of the evidence.’”87 What the

government actually said was (as an exhibit offered in support of

Defendant Finch’s motion establishes) “[w]hile we largely disagree with

your characterization of the evidence, we do intend to address those

points in our presentation of a superseding indictment. We appreciate

you bringing those arguments to our attention.” ECF 228-4 at 3.

      On March 18, 2021, Defendant Finch had his initial appearance

before a magistrate judge. Defendant Anderson’s counsel of record

appeared on behalf of Defendant Finch. A government attorney advised

the Court that it believed there may be a conflict of interest due to

Defendant Finch paying Defendant Anderson’s attorney and the

government would be requesting a conflict hearing.88 That evening, the

government requested defense counsel’s position via email on a motion


      87   ECF 228 at 4.

      88  Defendant Finch has since asserted, on several occasions, that the
“Magistrate Judge dismissed the suggestion [of a conflict] out of hand[.]” See e.g., ECF
228 at 7. The government’s recollection is that Judge Fitzpatrick indicated he was
not going to deal with such an issue at the hearing, which was appropriate; the
government did not ask the Court for any relief at that time; it had informed the
Court it would bring the matter up later. The government attempted to obtain a
transcript of the hearing but understands that is not possible due to a failure of the
recording systems in the second-floor courtroom during the hearing. Neither of
Defendant Finch’s attorneys of record were present at the hearing, which may explain
the inaccurate assertion.


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for a conflict hearing regarding Defendant Finch’s payment of Defendant

Anderson’s attorneys’ fees.89

      On March 22, 2021, the government discussed the conflict issue

with Mr. Vezina. After the government explained its belief that the

conflict inquiry needed to include the circumstances of how counsel came

to represent Defendant Anderson, and Defendant Finch’s role, counsel

stated that the defense agreed to state on the record that counsel had

complied with bar rules regarding third party payment of attorney’s fees

but opposed any broader inquiry.

      On March 23, 2021, the government filed a motion for a conflict

inquiry. ECF 78. Between the government bringing this to defense

counsel’s attention on March 18, and over the weekend to Defendant

Finch’s interview on March 24, there were seventeen phone calls made or




      89 As noted in the motion for a conflict inquiry, ECF 78 at 6-7, the government
has a duty to bring such matters to the Court’s attention. See, e.g., United States v.
Santini, 85 F.3d 9, 13 (2d Cir. 1996) (“Convictions are placed in jeopardy and scarce
judicial resources are wasted when possible conflicts are not addressed as early as
possible. We therefore reiterate our admonition to the government in earlier cases to
bring potential conflicts to the attention of trial judges.”); United States v. Tatum, 943
F.2d 370, 379–80 (4th Cir. 1991) (“[W]hen a conflict situation becomes apparent to
the government, the government has a duty to bring the issue to the court’s
attention[.]”). This Court should reject Defendant Finch’s suggestion, ECF 228 at 7,
that doing so is improper.


                                           39
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attempted between Defendant Finch and

             phone totaling over 60 minutes of conversation.90

      On March 24, 2021, Defendant Finch gave a recorded interview to

local media citing reasons for his non-appearance before the grand jury

quite different from that the government heard from defense counsel:

      My lawyer said, let me tell you how that is. Because they
      invited me to go up there last Tuesday and, uh, he says,
      “James they didn’t turn your evidence into the grand jury so
      there ain’t no use in going.”
      ....
     I said, “well I’m not going, I’m not going to the grand jury.”           91



Additionally, Defendant Finch stated that Defendant Anderson

came to him with a quit claim deed to her home, asked him for

money, and he “loaned” her money for her lawyer bills.92


      90                                       Assertions by Defendant Anderson’s
counsel that she was not having contact with Mr. Finch after August 25, 2020, are not
credible.

      91                                                        In a letter dated April
20, 2021, Defendant Finch’s attorney indicated he had a teaching commitment on
March 16 and stated that Defendant Finch remained “ready, willing, and able” to
testify before the grand jury. In an October 5, 2021, conference counsel for Defendant
Finch stated that he hoped the government could understand how counsel’s assertion
that Defendant Finch wanted to testify but there was a scheduling issue and
Defendant Finch’s public statements that his lawyers advised him not to and he
agreed could both be true. The government does not understand how to reconcile
those assertions.

      92


                                          40
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     The Court’s order for a response to the conflict-inquiry motion (ECF

93) did not require Defendant Finch to respond. But he did respond. ECF

98. Among other things, Defendant Finch sought to distinguish cases

cited in the government’s motion.93 The response cited United States v.

Urutyan, 564 F.3d 679 (4th Cir. 2009), for the proposition that the

“government presented suspicious recorded telephone calls referencing

agreements to cover legal expenses in cash, among other inculpatory

evidence.” The response cited United States v. King, Case No. 4:19cr77,

ECF. No. 67 at 4 (E.D. Va. Oct. 26, 2020), for the proposition that “the

government’s presentation of travel records and phone calls between

defense counsel and the third-party payor showed clear influence over

the case.” The response asserted that “[u]nlike the government in King

and Urutyan, the government here has not claimed that it possesses any

evidence to support a similar outcome. Of course, there is none.”94 Of

course, there was.




     93   ECF 98 at 4-5.

     94   ECF 98 at 5.


                                   41
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     Defendant Anderson filed a response stating that no hearing was

required, and the Court should not hold one because it would “prejudice

Defendant Anderson.” The response referred to payments by Defendant

Finch as the “sole basis of the alleged actual or potential conflict.”95 The

response stated that “[t]he Government’s interest in knowing more is

strategic” and the “information is not necessary for the Court’s analysis

and most certainly not for a waiver colloquy.”96 The response stated that

if an inquiry was conducted it should be ex parte, “[b]ut Defendant

Anderson adamantly opposes the Government’s request that a record be

created in open court as to the details and circumstances of payments by

Defendant Finch to Defendant Anderson’s counsel.”97

      On April 6, 2021, the Court held a hearing and accepted Defendant

Anderson’s waiver.98 However, there was no disclosure that Defendant

Anderson’s attorney (1) had formerly represented Defendant Finch’s

business extensively; (2) was currently retained to represent Defendant



     95   ECF 97 at 5.

     96   ECF 97 at 6.

     97   ECF 97 at 3.

     98   ECF 104.


                                    42
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Finch’s business; (3) had an attorney-client relationship with Defendant

Finch regarding the allegations in this case prior to being retained by

Defendant Anderson; and (4) was currently representing Defendant

Finch’s business on matters directly related to this case.99 At the

conclusion of the hearing, the Court set trial for August 16, 2021.100

      As noted, Defendant Finch had his initial appearance on March 18,

2021. After the hearing, the Court entered an order setting conditions of

release regarding Defendant Finch largely the same as the Court’s

standard order. But a modified condition of release was that Defendant

Finch was to “avoid all contact, directly or indirectly, with any person

who is or may be a victim or witness in the investigation or prosecution,

including co-defendants; no direct of personal contact with City of Lynn

Haven officials, including department heads, City Manager, and Chief of

Police.” Defendant Finch acknowledged the conditions of release and

promised to obey them.101 The government understands that the pretrial



      99The government believes that ensuring on the record that Defendant
Anderson was aware of that would have been significant to determining whether the
waiver was knowing and voluntary.

      100   ECF 108.

      101   ECF 87 at 5.


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services officer went over this condition with Defendant Finch in some

detail.

      Defendant Finch promptly and repeatedly disregarded that

condition. On March 22, 2021, Defendant Finch directly contacted a City

department head.102 Between March 26, 2021, and April 5, 2021,

Defendant Finch directly contacted a Lynn Haven City Commissioner by

initiating and participating in six phone calls totaling approximately 35

minutes of conversation.103 On April 6, 2021, Defendant Finch directly

contacted a City department head.104 On April 12, 2021, Defendant Finch

caused an email to be sent from his email address to the Lynn Haven City

Manager and four City Commissioners.105 The email demanded payment

for the 17th Street project, which was a subject of both the original and

superseding indictments. The email was signed “Sincerely, James Finch.”

      On April 13, 2021, Defendants Finch and Anderson filed a joint

motion to modify their conditions of release to allow “direct and indirect



      102


      103


      104


      105



                                   44
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contact” between themselves “with and without the presence of counsel

to assist in the preparation of pretrial motions, to prepare for trial and to

present common defenses.”106 The motion made the technically true but

actually misleading statement that “Pretrial Services will confirm that

[Defendant Anderson] has faithfully followed the Court’s condition”

regarding no contact with witnesses.107 The motion further stated that

“[a]lthough subject to pretrial release for a shorter time, Defendant Finch

has honestly adhered to the Court’s command as well.”108 That

representation was false because Defendant Finch had violated the

restriction on contacting City officials at least eight times by the date of

the filing. Because of concern that Defendant Anderson had been

communicating with Defendant Finch in violation of the condition, the

government contacted the pretrial services officer to consult before taking

a position. But the next day, April 14, 2021, the Court granted the joint




     106   ECF 110 at 5.

     107   ECF 110 at 1.

     108   ECF 110 at 1-2.


                                     45
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motion before the government’s time to file a response elapsed, noting the

risks involved with the arrangement.109

     On Thursday, April 15, 2021, counsel for Defendant Finch

requested the government’s position on another motion to allow

Defendant Finch to have “direct or personal communication with [C]ity

of Lynn Haven officials to conduct official business only.” On Monday,

April 19, 2021, the government responded that it had concerns with such

a modification, citing the April 12, 2021, email to the City Manager and

Commission (the government was not aware of other violations at that

time), and requested an explanation from Defendant Finch’s counsel

about the apparent violation of the release condition.110 Defendant

Finch’s counsel never provided an explanation to the government. That

evening, the government asked the pretrial services officer his opinion

about the request and mentioned Defendant Finch’s email to the City

Manager and Commission. The pretrial services officer asked for a copy

of the email, which the government provided.




     109   ECF 111.

     110



                                   46
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      On April 20, 2021, Defendant Finch’s counsel sent an email to the

pretrial services officer regarding the April 12 email.111 Counsel

represented that Defendant Finch’s employee prepared and sent the

April 12 email. The employee stated in a forwarded email “I sent the

attached email on behalf of James Finch. I didn’t know that it was

supposed to be addressed                     on behalf of James Finch. I’ve sent

e-mails for James for years, because he doesn’t send emails.” Id. The

government understands that defense counsel conceded to the pretrial

services officer that Defendant Finch told his employee exactly what to

say in the email. Defense counsel represented that “James understands

that he cannot communicate directly with the city.” Id. More directly,

counsel stated “James has not spoken with or attempted to speak to any

City official directly via telephone or in person.” Id.

      On April 21, 2021, the pretrial services officer submitted a petition

that Defendant Finch had violated pretrial release conditions based on




      111 The email stated “unfortunately the government did not provide context
with the April 12, 2021 email, indicating that James communicated with a City
employee.”                                          Since the government had asked
for that “context” the day before, it did not appreciate the insinuation that it had
withheld information from the pretrial services officer.


                                        47
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paid    by      Defendant    Finch   for    fee   records   and   non-privileged

communications.115 The government could have issued grand jury

subpoenas for the documents it sought since it concerned investigation of

additional potential charges. But, expecting motions to quash, the

government sought Rule 17 subpoenas as a more efficient way to bring

the matter to the Court’s attention and reach the same end. The Deputy

Assistant Attorney General authorized issuance of the subpoenas after

the government sought approval based on the facts set out in the

motion.116

       The government brought its concerns to the attention of defense

counsel prior to filing the motion, provided a draft of it, and asked if there

were additional facts that could provide context before bringing the

matter to the Court’s attention in a public filing.117 Defense counsel

declined to provide anything, but suggested that the government asking

the question was similar to extortion. Defense counsel asked that the



       115   ECF 228 at 7.

       116


         In preparing the motion, the government had reviewed similar filings by
       117

government attorneys around the country which were not filed under seal and did
not apprehend a legal basis to do so.


                                           49
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motion be filed under seal, citing their reputational interests.   118   The

government agreed.

     The government has regard for Defendant Anderson’s attorneys

and said so repeatedly before filing the motion, in the motion, and at the

hearing. The focus was on the conduct of the Defendants. The evidence

showed (1) Defendant Finch paid hundreds of thousands of dollars for

Defendant Anderson’s attorneys while knowing he was an unindicted

alleged co-conspirator; (2) Defendant Anderson’s lead counsel (with no

known experience in criminal law) had extensively represented

Defendant Finch in important matters; (3) records indicated that

Defendant Finch procured the representation of Defendant Anderson; (4)

Defendant Finch apparently persuaded and arranged for Defendant

Anderson to hire his attorney (when he was not supposed to be having

contact with her); (5) Defendant Finch had extensive and at the time

unexplained contact with Defendant Anderson’s lead counsel after

counsel’s appearance in the case; (6) Defendant Anderson’s counsel

refused to explain and resisted inquiry into the circumstances of his

appearance in this case after counsel had misrepresented that he



     118   ECF 142.
                                   50
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appeared by coincidence; (7) after the government brought payment of

fees up, Defendant Finch stated publicly that Defendant Anderson came

to him with a quit claim deed to her house and asked for money and he

“loaned” her some; (8) Defendant Anderson’s attorney later suggested the

interaction about the deed took place before August 25, 2020; (9) the deed

is dated September 4, 2020, witnessed by Defendant Finch’s employees,

and falsely states that he had already paid her $200,000 for the sale of

her home; (10) the deed was not recorded until April 27, 2021 (after the

government suggested there was a conflict); and (11) Defendant Finch’s

employee (               caused another employee to illegally execute an

attestation that the deed was executed on September 4.

     In response to the motion, neither Defendant contested any of the

facts put forth.




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               .119

                                                                   .120

         In the meantime, the government had provided discovery to

Defendant Finch’s attorneys on or about April 15, 2021.121 The discovery

took the form of a hard drive loaded with 43 separate folders of

documents. The government also provided FBI FD-302 reports of

interviews of Defendants and search warrant applications related to ECS

and another entity in hard copy. That production did not include reports

of other witness interviews. The government intended to provide

pertinent reports in a subsequent production to all four defendants and

did so after a protective order was entered during break in the Burnette

trial.

         Soon after providing that discovery to Defendant Finch’s attorneys,

the government received information from                    indicating that

Defendant Finch had provided a hard drive containing the government’s

discovery to                    and that Defendant Finch was often combing



         119   ECF 167 at 21.

         120   ECF 173.

         121


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not referring to          information and did not wish to take

word for it (as a convicted perjurer), and so notified defense counsel that

it would not include a suggestion that Defendant Finch provided

information to other individuals in a motion for a protective order.

Defense counsel then objected to a protective order covering previously

provided discovery. The government responded that it had not asserted

that Defendant Finch disseminated discovery, that if he had it would not

be a violation of an order that had not been entered at that time, and

asked defense counsel to provide assurances he had not.126 But no such

assurances were forthcoming. Obviously, defense counsel could not

provide such assurances because Defendant Finch had already

disseminated to                   every bit of information produced to

Defendant Anderson’s attorney in September 2020 and produced to

Defendant Finch’s attorneys in April 2020.

     On June 18, 2021, the government filed a motion for protective

order.127 The government noted a defense objection that it should only

apply to subsequently provided discovery. Because the material already


     126


     127   ECF 160.


                                    55
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provided included sealed material and other sensitive material such as

bank records of third parties, the government requested that it apply to

all discovery, but not retroactively, so any earlier dissemination would

not be a violation. 128

      On June 25, 2021, Defendant Anderson responded to the motion for

a protective order.129 The response asserted “Anderson has possessed

government discovery since September 2020 and, even absent a

protective order, has not disseminated any of it.”130 That assertion was

not correct because Defendant Anderson had actually disseminated the

government discovery to Defendant Finch (not charged at that time), and

Defendant Finch had disseminated it to                      by November

2020.131

      That same day, Defendant Finch also responded to the motion for a

protective order.132 In the response, Defendant Finch falsely suggested,



      128ECF    160 at 5.

      129   ECF 166.

      130   ECF 166 at 4.

      131


      132   ECF 165.


                                   56
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obliquely, that the government had leaked discovery material to news

media.133 Defense counsel then stated unequivocally that “Finch has

possessed copies of the Government’s discovery since April 2021 and has

not shared any portion of it.”134 But that was false. Indeed, pursuant to a

search warrant                                      the FBI searched

            computer and found a complete copy of the electronic discovery

provided to Defendant Finch’s counsel in April 2021135:




      133ECF 165 at 6-7. The government did not provide that information to the
media. The insinuation otherwise was misleading.

      134ECF 165 at 6. Another reason why that was not true: Defendant Finch
possessed the government’s discovery provided to Defendant Anderson in September
2020 by November 2020, because he had provided it to

      135


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approved of it, and falsely denied it to avoid a more restrictive protective

order which would have prevented (in the legal sense) Defendant Finch

from doing with witness interview reports what he had already done

twice with other discovery.

     On July 6, 2021, the Court issued a protective order applicable only

to discovery produced going forward.138 Accordingly, the government

produced several hundred pages of interview reports, which appears

defense counsel still has not fully reviewed.139 Because of Defendant

Finch’s behavior, and counsel’s false denials about his behavior, a few

reports relating to cooperating defendants had redactions concerning

information as to other investigations.

     In the meantime, Defendants challenged aspects of the first

superseding indictment. Some were successful and others were not.

     Defendant Finch first contested Count 2, relating to a payment to

Commissioner Barnes. Although the local rules do not require conference

on a dispositive motion, defense counsel sought the government’s position

that it was outside the statute of limitations. Defense counsel followed up



     138   ECF 174.

     139


                                    59
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the next day. The government politely replied that it was not able to

agree at that time but would respond to the motion. Defendant Finch

moved to dismiss Count 2. The government considered the issue carefully

and responded (in a Court-ordered expedited manner) conceding that

Count 2 should be dismissed, which the Court did.

     Defendants then filed another round of motions attacking the

honest services fraud counts and the conspiracy charged in Count 1.140

Much of Defendants’ argument was that the charging document was not

sufficiently specific. Defendant Anderson moved to dismiss the false

statement charge against her, asserting it did not properly allege that

false statements to the FBI were made “willfully.”141

     On August 19, 2021, the Court entered an order dismissing Count

1 of the superseding indictment without prejudice, holding that as pled

Count 1 alleged separate conspiracies which could not be cured with a

jury instruction.142 The Court denied motions to dismiss other charges

against Defendant Anderson and Defendant Finch, recognizing some


     140   ECF 131, 138.

     141   ECF 138.

     142   ECF 185 at 7.


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practical concerns with the dismissal of Count 1 and its impact on other

counts that incorporated factual allegations from Count 1.143

      On September 17, 2021, the Court held a status conference. At the

status      conference,     the   government   indicated   that   there   were

developments in the case which may affect the nature of a second

superseding indictment.144 The Court entered an order continuing

trial.145

      On September 24, 2021, Defendant Adam Albritton pleaded guilty

to two counts of wire fraud relating to accepting bribes/kickbacks from

ECS and defrauding his insurance company with a false invoice for

hurricane repairs when ECS had provided those services without charge

(and then billed the work to the City).146

      On October 6, 2021, Commissioner Barnes pleaded guilty to an

information charging he made false statements to a bank to secure a loan




      143   ECF 185 at 7.

      144   ECF 190.

      145   ECF 191.

      146   ECF 195, 196, 197.


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but admitted as part of his plea that he took money from Defendant Finch

in exchange for performing official acts.147

         In the meantime, Defendant Finch’s counsel had circled back about

discovery matters.            Defense counsel requested unredacted FD-302

reports, stating that the defense believed that the redactions contained

Brady information, and that the defense had deduced that the redactions

pertained to                                                       . Defense counsel

further stated “we have also developed independent evidence that tends

to demonstrate the falsity of multiple witnesses’ statement to the

authorities.”148

         A learned treatise has described how “[a] prosecutor may not know

the defendant’s theory of defense, and thus not know what qualify as

exculpatory evidence.”149 It elaborates that “[b]ecause the defendant is

not required to announce the theory of the defense and the prosecution is

not required to maintain an ‘open file’ policy, there is inevitably a degree

of uncertainty about compliance with Brady.” Id. With that wisdom in


         147   See United States v. Barnes, 5:21cr31-MW/MJF, ECF 12 (N.D. Fla. Oct. 6,
2021).

         148


         149   Eleventh Circuit Criminal Law Handbook §206(a) (2021 Edition).
                                             62
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mind, the government asked why the defense thought the redacted

material was Brady and what witnesses were supposedly lying to

authorities. Defense counsel responded by accusing the government of

“[o]nce more dodg[ing] direct answers to [counsel’s] questions” and “[t]his

has become a pattern and practice of yours in this case.”150 Defense

counsel wanted to know the legal basis for the redactions (which, if it was

not clear in the exchange, was that if the material is not Brady, it was

not discoverable). The government wanted to know why the defense

thought it might be so it could fulfil its obligations.151

      Eventually, on October 5, 2021, the government had a telephone

conference with Defendant Finch’s counsel at his request.              Defense

counsel asked about the FD-302 redactions. The government asked again

why the defense believed the redactions contained Brady material.

Defense counsel stated the defense believed that                            was

orchestrating a massive conspiracy. Since the government’s information

was that Defendant Finch had been in cahoots with                         , that



      150   2021.9.15 email exchange re 302.pdf.

        2021.9.15 email exchange re 302.pdf; 19. 2021.10.5 email exchange with
      151

Forman.pdf.


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seemed odd.152 The government asked how that tended to negate

Defendant Finch’s guilt on the charges in this case. Defense counsel had

no answer, or at least none he cared to share. Defense counsel asked

about the presentation of exculpatory evidence to the grand jury. The

government replied that it had presented the information in the January

18 letter to the earlier grand jury and would do the same regarding the

superseding indictment, but again told defense counsel that counsel’s

factual assertions in a letter are not really evidence. Defense counsel

indicated he would attempt to put together a presentation. The

discussion then turned to whether Defendant Finch would testify before

the grand jury. The government stated it was unsure whether such offers

were sincere given Defendant Finch’s public statement on March 24 that

his attorney advised him not to testify. But defense counsel stated that

the offers were “absolutely sincere.”

      After significant internal discussion, the government elected to

postpone the presentation of a second superseding indictment to

November 16-17 to afford defense counsel time to assemble a




        The timing of this new-found defense theory makes more sense when one
      152

remembers that
                                     64
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presentation of actual evidence the defense viewed as exculpatory, and to

provide sufficient lead time for Defendant Finch’s counsel to arrange

their schedules to be present for his requested grand jury testimony, the

reason counsel gave for his previous non-appearance. The government

informed Defendant Finch’s counsel of this in an email on October 25,

2021, among other things.153

     In the meantime, on October 22, 2021, Defendant Finch moved to

compel discovery of unredacted FD-302 reports and motions to continue

sentencing of cooperating defendants.154 The Court ordered an expedited

response.155 The government filed an expedited response which set out

some but not all of its concerns (described more fully below in the

discovery section) about Defendants’ behavior and explained defense

counsel’s failure to engage in a meaningful conference on the issue.156 The

government did not rely on information provided by            (a convicted

perjurer) because it did not want to take his word for it. On November 9,



     153                                                                  .

     154   ECF 200.

     155   ECF 201.

     156   ECF 209 at 7.


                                    65
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the Court entered an order reciting the parties’ positions and reasoning

that the protective order was sufficient to address any concerns about

confidentiality, ordering the government to produce the motions and the

unredacted FD-302s by November 12, 2021.157

      On October 26, 2021, the Court held a status conference. The

government informed the Court that it planned to present the second

superseding indictment on or about November 16, 2021. Defense counsel,

Mr. Lewis and Mr. Vezina, seizing the opportunity presented, complained

at some length about the delay in returning another charging document.

Mr. Lewis referred to “[p]resentations we’ve made to the U.S. Attorney

that last spring where we detailed and presented information, proffers,

testimony, conflicts in the case, [and] documents.”158 That is precisely the

sort of information the government had previously asked Defendant

Finch’s counsel to provide in several emails and by phone on October 5,


      157   ECF 211. The government noted in earlier correspondence that the Court
had ordered production without reviewing the material and determining it was
favorable to the defense. Defendant Finch has repeatedly asserted that this was a
criticism of the Court. ECF 274 at 13. It is not. It is a statement of fact. The
government did not ask in its response for the Court to conduct an in camera
inspection, which is the ordinary procedure. See, e.g., United States v. Jordan, 316
F.3d 1215, 1252 (11th Cir. 2003) (“Not infrequently, what constitutes Brady material
is fairly debatable. In such cases, the prosecutor should mark the material as a court
exhibit and submit it to the court for in camera inspection.”).

      158   ECF 219 at 10.
                                         66
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2021, if they wished to, which counsel on the call said he would try to

provide, and which they did not provide.159

      Instead, on November 8, 2021, Defendant Finch’s counsel sent the

government another letter. It did not cite to any particular documents or

testimony. The letter rehashed counsel’s earlier factual assertions and

ultimate conclusion that, in their view, Defendant Finch is innocent.

      For example, defense counsel asserted that within days of paying

the City Engineer $75,000 for the Motorhome, Defendant Finch agreed

to sell the Motorhome to Defendant Anderson’s spouse for $70,000 and

that the spouse asked Defendant Finch to “finance” it without Defendant

Anderson’s involvement. But, as detailed in second superseding

indictment,160 the evidence is that (1) Defendant Finch paid the City

Engineer $75,000 for the Motorhome; (2) the City Engineer transferred

title to the vehicle to Defendant Anderson’s spouse; (3) Defendant


      159 Candidly, Defendant Anderson’s attorneys of record presented documents
to the government in January 2021, which were largely from government discovery.
Perhaps that is what defense counsel meant by “we.”

      160 Without contesting these allegations in the second superseding indictment,
which are undisputedly true, Defendant Finch complains that the original indictment
and superseding indictment have internally inconsistent factual allegations. ECF 228
at 18-19. The operative pleading, though, is the second superseding indictment. But
in any event, the allegations in the earlier charging documents are consistent which
the above description, and no basis to dismiss the second superseding indictment.


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Anderson’s spouse falsely asserted to state authorities that the sale price

was $35,000; (4) the Andersons paid no money for the Motorhome at that

time; (5) Defendant Anderson was routinely seen about town driving the

vehicle; (6) Defendant Anderson ordered the City Manager to have ECS

clean-up her property after the hurricane so she could move what she

later publicly claimed was “our” Motorhome; (7) the Andersons paid

Defendant Finch $20,000 by check (and perhaps $15,000 in cash

withdrawn)161 22 months after receiving the Motorhome and only after

individuals were indicted in the related case and the FBI interviewed

Defendant Anderson about her involvement with ECS; and (8) Defendant

Finch gave the FBI a bill of sale which falsely described the nature of the

transaction; that                   had paid $35,000 for it by July 2018.162



      161 The source of these funds appears to be the settlement Defendant Anderson
received from her insurance company from hurricane damage to her residence.
Defendant Finch later claimed to the FBI that Defendant Anderson’s spouse paid him
with a check and the difference in cash. But if the contention is that Defendant
Anderson’s spouse paid the $15,000 in cash too, it seems odd to withdraw that much
cash from a bank account rather than just another check, or a check for $35,000
rather than $20,000. In any event, there is no discernible source for the remaining
$35,000 on a sale price of $70,000 which Defendant Finch claimed to the FBI, and no
source of funds for $35,000 supposedly paid as “half down” as of July 6, 2018, when
no money was paid until December 2019.


      162                                      Following the dismissal of Count 1
of the superseding indictment, in September 2021, the government conferred with
Defendant Anderson’s attorney about the case and a potential second superseding
                                        68
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      For another example, regarding hurricane debris disposal,

Defendant Finch’s letter asserted that the government should produce

exculpatory evidence that Defendant Finch was in a coma after the

hurricane and did not return until October 31, 2018, that his employees

tried to get the required permit without his involvement, that his

dumpsite would alleviate damage to the City property and reduce costs,

that the City property was not prepared to receive debris, and that the

City would have to incur more costs to dump the debris elsewhere later.

None of that is really exculpatory, though, because the evidence and the

allegations are that, prior to Defendant Finch’s return to Lynn Haven in

late October, Defendant Anderson killed the City’s plan to use a property

next door to Defendant Finch’s property to dispose of debris,163 Defendant



indictment. Defense counsel asked whether there was any particular information
that might change the government’s mind about pursuing charges against her. The
single thing the government requested was evidence that Defendant Anderson or her
spouse had actually paid $35,000 (or any money at all) for the Motorhome by July 6,
2018, the date indicated on the bill of sale Defendant Finch presented to the FBI,
which indicated $35,000 had been paid as of that date, or any information that any
money was paid before the November 2019 indictments. After some time, counsel
politely declined to provide anything in that regard, which of course they are not
obligated to do.

      163 While Defendant Anderson was killing that permit,                      and
another contractor,                   traveled to Jacksonville to meet with Finch,
apparently to discuss hurricane business.
                   told                  that he was going to make sure Defendant
Finch got his share of the business and, on October 23, 2018, sent Michael White two
                                        69
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Anderson and Defendant Finch leaned on the City Manager to redirect

the disposal to his site after he returned (and all the hauling business

too), it does not cost $3.4 million to prepare land to dispose of hurricane

vegetative debris, the City could have sold the debris to the company

across the street for approximately $500,000 just as Defendant Finch

later did and had Defendant Anderson not so intervened to benefit

Defendant Finch, the taxpayers would have been $3.4 million better off.

      Defense counsel’s letter also demanded that the government submit

to the grand jury a package of materials Defendant Finch provided the

Sheriff in December 2020, including a news article about a prosecutor on

the case.164 It made Defendant Finch’s grand jury testimony contingent

that he be allowed to testify on a wide range of items, many outside of his

personal knowledge, including the December 2020 package. It insisted

the government present a letter dated November 4, 2021, which



text messages stating “You need to call me ASAP per James Finch.”


      164 Such an article, which defense counsel included in the record at ECF 228-1
at 10, is not relevant to the grand jury’s consideration of the second superseding
indictment and a determination of probable cause. Notably, Defendant Finch’s type-
written complaints about the original indictment bear a strong resemblance to both
the false bill of sale and the quit claim deed,



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Defendant Finch had submitted to the media, which concluded by

inviting someone (presumably the reader) to “kiss my ass.”165

      On November 10, 2021, the government responded to Defendant

Finch’s counsel’s letter by email. The email affirmed the government’s

intention to comply with Justice Department policy regarding the

presentation of exculpatory evidence before the grand jury and explained

that Defendant Finch “can tell the grand jury whatever he wishes, so long

as he explicitly waives his privilege against self-incrimination, on the

record before the grand jury, states on the record that he is represented

by counsel . . . and consents to full examination under oath.” Defendant

Finch’s counsel replied that same day accepting the invitation.166

      But, after getting everything they had asked for, Defendant Finch’s

counsel introduced another condition; that the government state whether

it “has any intentions of inquiring about matters unrelated to this

case.”167 The government replied it was unsure what “matters unrelated



      165


      166


      167                                                             It is not clear
what defense counsel were concerned what else the government might ask about. But
one thing the government can think of is Defendant Finch having        give $10,000
to an elected official’s brother who would “know what to do with it.”
                                         71
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to this case” meant but explained that Defendant Finch’s “consent to full

examination under oath includes matters relevant to the ongoing grand

jury investigation, which may include questions from grand jurors which

we cannot necessarily anticipate.”168 Not satisfied, defense counsel

demanded to know “[d]oes the government intend on soliciting

information from [Defendant Finch] about matters unrelated to this

case?”169 The government replied “[w]e will only being asking questions

regarding this grand jury investigation.    But if Mr. Finch wishes to

testify, he must consent to full examination under oath.”170

     When the government agreed to every concession, the defense

strategy seemed to shift. If Defendant Finch was going to put himself out

there and testify (which counsel could not really have wanted him to do),

it would of course be helpful to have a more sympathetic witness to back

him up. Out of the blue, on November 11, 2021, Defendant Anderson’s

attorney contacted the government and asked that she too be allowed to

testify before the grand jury on November 16, 2021, so long as she could



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     169


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say and present whatever she wanted. No such request had been made

before. The government replied the next day, November 12, 2021, that

she could testify as well under the same conditions as Defendant Finch.171

     On Friday afternoon, November 12, 2021, the government produced

unredacted FD-302 reports of certain individuals pursuant to the Court’s

order. On the morning of November 15, 2021, Defendant Finch’s counsel

informed the government that it was “shocked” about the unredacted FD-

302s. That seemed odd, since defense counsel had previously asserted

they had already deduced much of it was about                         The

defense asked for a postponement of the grand jury to bring the current

motion and represented, again, that Defendant Finch would testify if the

case went forward, and if the government pressed forward to make sure

to present their letters, and, specifically, Defendant Finch’s presentation

to the Sheriff on December 22, 2020. Less than 30 minutes later,

Defendant Anderson’s counsel informed the government she was not

appearing before the grand jury either.172




     171


     172


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     On November 16, 2021, a grand jury returned the second

superseding indictment against Defendant Finch and Defendant

Anderson.

     On December 2, 2021, Defendant Finch moved to dismiss the

second superseding indictment alleging the whole of it is duplicitous.173

On December 3, 2021, Defendant Anderson moved to dismiss the second

superseding indictment on similar grounds.174

     On December 6, 2021, Defendant Finch moved to dismiss the

second superseding indictment with prejudice.175 On December 10,

Defendant Anderson moved to dismiss on similar grounds.176

     On December 22, 2021, the government filed a lengthy response

asking the Court to deny the motions and set the case for trial but did not

specifically address Defendants’ request for open-file discovery or

production of other material.




     173   ECF 225.

     174   ECF 226.

     175   ECF 228.

     176   ECF 234.
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      Following briefing on the motions, on February 17, 2022, the Court

held a status conference. At the hearing, the Court set an evidentiary

hearing and indicated it was considering ordering production of grand

jury transcripts. Government counsel pointed out that the defense had

not met the threshold for production of transcripts but did not precisely

articulate the correct standard of “particularized need.” Accordingly, the

government filed a notice of supplemental authority to articulate the

correct standard.177

      Late on February 22, 2022, the Court enter an order finding that

Defendants had shown a “particularized need” for grand jury transcripts

due to three alleged factual errors and legal deficiencies in earlier

indictments, explaining it was satisfied the defense was not on a fishing

expedition. The Court’s order further directed the government to produce

all grand jury transcripts, all witness interview reports, and all agent

notes on or before March 1, 2022, and, if this deadline is unfeasible from

the government’s perspective, the government must file a notice



      177 See N.D. Fla. Loc. R. 7.1(J) (providing that “[i]f a pertinent and significant
authority comes to a party’s attention after the party’s memorandum has been filed—
or after a hearing but before decision—the party may file a notice of supplemental
authority”).


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explaining why a later deadline is necessary.178 This order thus required

the government to produce all Jencks materials earlier than required by

statute and by case law.

      Accordingly, the government immediately undertook to comply with

the Court’s order. The government had previously obtained transcripts of

the case agent testifying four times in relation to the three indictments

(June 9, 2020, August 18, 2020, March 16, 2021, and November 16,

2021).179 Those were produced to the defense early on Friday, February

25, 2022, pursuant to their request. Prior to the Court’s order, the

government requested the transcript of the colloquy for the November 16,

2021, presentation to the grand jury that returned the Second

Superseding Indictment,180 and it was produced to the defense too.

Another witness transcript was produced to the defense on March 1, 2022.

The morning of February 23, 2022, the government requested that the




      178   ECF 256.

      179Case agent or fact witness testimony is usually transcribed shorty after it.
Colloquies are usually not. That is why it took additional time to order and obtain the
un-transcribed colloquies and produce them as the government received them.

      180 One of the prosecutors asserted (based on memory) at the February 17
hearing that the November 2021 grand jury had received pattern instructions on
honest services fraud and sought to confirm this assertion was accurate. It was.
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court reporters transcribe those grand jury proceedings that were not

already transcribed; that is, colloquies for the three other presentations

on an expedited basis (and increased fees) in accordance with the Court’s

order.

     A court reporter transcribed the colloquy for the March 16, 2021,

presentation, and that was produced to the defense on February 28, 2022.

Another court reporter transcribed the other two sessions. The

government was informed by the private reporting service that this court

reporter was unavailable until March 1, 2022. The government queried

that service repeatedly and produced the transcripts as soon as they were

received.

     On March 1, 2022, the government produced additional witness

interview reports and agent notes of interviews (including those for FD-

302 reports produced in July 2021) indexed to the corresponding FD-302

report for counsel’s convenience. The new case agent worked with the

previous case agent to identify agent notes which may not have resulted

in FD-302 reports. Further, the government produced interview

summaries and audio recordings and transcripts of interviews for

numerous witnesses who witnessed or performed Hurricane Michael


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cleanup. The government had previously identified and indexed such

material that related to such work performed at Defendant Anderson’s

residence, and that index and separate identification/organization was

also produced to the defense on March 1, 2022. This represented the bulk

of the government’s anticipated early Jencks production. On March 1,

2022, the government filed a status report explaining its production

efforts and expectations going forward.

      Apart from the transcripts, the defense requested grand jury

exhibits presented during the testimony. Many of these were duplicative

of documentary evidence disclosed as far back as September 2020 (which

Defendant Anderson’s attorneys appears to have provided wholesale to

Defendant Finch, and which Defendant Finch disclosed wholesale to

                   A couple of exhibits were timelines created by the case

agent. The defense asked for the grand jury exhibits and the government

provided them.181



      181 When the government has indicated that it responded to defense requests,
the defense has sometimes claimed that the government is “shifting blame” or
responsibility. That is not the case. The government recognizes its obligations. It
points out these facts to show its good faith; when the defense asks for something, or
suggests something might be missing, the government undertakes to look for it. That
is how the pretrial and discovery process should work in a complex case that will
inevitably involve numerous productions and ongoing discussion between counsel for
the parties. By way of example, the Burnette case involved 41 government
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      The government thereafter conducted additional interviews and

promptly disclosed the reports and agent notes from same. Defendant

Finch’s papers contend it was a violation of the Court’s order to do so. See

ECF 274 at 3 n.3.        182   There was no violation of the Court order in

conducting additional interviews and promptly disclosing the results of

them.

      At the beginning of the March 31, 2022, evidentiary hearing,

Defendant Finch’s counsel submitted a list of material they believed

existed but had not been produced.183 Counsel had not asked the

government about such materials or provided the list prior to its

presentation. After receiving the list, the government went about

compiling the items listed and produced them to the defense as soon as

they were located. As detailed below, the “missing” documents are not

favorable to the defense or even relevant. Defendant Finch further




productions over 2 ½ years, some just before trial. Notably, however, Defendants have
not made any reciprocal discovery productions to the government which, by Rule 16
and court order, were due within 7 days of the government’s request.

      182 In contrast, and to their credit, Defendant Anderson’s counsel possess the
intellectual honesty to at least not to assert this was a violation of a Court order. ECF
273 at 31 n.5.

      183


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claimed, in conclusory fashion, that some 31 interview reports produced

after February 22, 2022, contained Brady material. A review of each of

those documents reveals they each fall into one more of these categories:

(1) had already been produced); (2) the substance had been produced

elsewhere; (3) is information Defendants already knew; or (4) are not

favorable to the defense; or (5) are not even relevant to this case.

     During and after the hearing, the government searched for items

on Defendant Finch’s list and others Defendant Anderson brought up and

promptly produced what it had located, including BCSO notes, several

more (irrelevant) FD-302s, and additional notes by SA Borghini. The

government respectfully submits that it did not “disregard[] the Court’s

instructions in the most flagrant fashion,” as Defendant Finch contends.

ECF 274 at 15.

     II.   The second superseding indictment is not duplicitous.

     Defendants contend that all 26 counts of the second superseding

should be dismissed as duplicitous. This Court should reject that

contention.

     As the Court noted in its earlier order, “[d]uplicitous counts

impermissibly charge ‘two or more separate and distinct offenses.” ECF


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185 at 2 (quoting United States v. Schlei, 122 F.3d 944, 977 (11th Cir.

1997) (emphasis added and internal quotation marks omitted). “The

problems with a duplicitous count are threefold: ‘(1) A jury may convict a

defendant without unanimously agreeing on the same offense; (2) A

defendant may be prejudiced in a subsequent double jeopardy defense;

and (3) A court may have difficulty determining the admissibility of

evidence.’” Id. (quoting Schlei, 122 F.3d at 977).

     The role of a court reviewing an indictment for duplicity is “solely

to assess whether the indictment itself can be read to charge only one

violation in each count.” United States v. Mancuso, 718 F.3d 780, 792 (9th

Cir. 2013) (internal quotation marks and citation omitted); see also

United States v. Morse, 785 F.2d 771, 774 (9th Cir. 1986) (same); United

States v. Smallwood, 3:09cr249, 2011 WL 2784434, at *6 (N.D. Tex. July

15, 2011) (same). “A duplicitous count is one that charges two or more

separate offenses, not one that merely describes factual matter relevant

to proving more than one criminal offense.” United States v. Buckingham,

No. 4:18cr376, 2018 WL 6570874, at *3 (N.D. Ala. Dec. 13, 2018); see also

United States v. Lombardo, 582 F. App’x 601, 614 (6th Cir. 2014) (“The

incorporation clauses were explicitly limited to the general allegations,


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manner and means, and overt acts. This particularization thus avoided

the problem of duplicity.”).

      The second superseding indictment is not duplicitous.184 Count 1

plainly charges Defendant Finch and Defendant Anderson with

conspiring to defraud the City and its citizens of the honest services of

Defendant Anderson and another city commissioner through bribery

with respect to Defendant Finch’s projects identified therein. It

specifically alleges that Defendants Finch and Anderson “did knowingly

and willfully combine, conspire, confederate, and agree together and with

other persons to devise a scheme to defraud the City of Lynn Haven and

its citizens of their right to the honest services of ANDERSON, the

elected Mayor of Lynn Haven, and Barnes as commissioner, through

bribery or kickbacks,” and that the manner and means of the conspiracy

were that these Defendants

      used ANDERSON’s public official position as the Mayor of
      Lynn Haven and Barnes’ position as City Commissioner to
      offer, give, solicit, receive, agree to accept, and accept things
      of value from FINCH, which were offered and provided by
      FINCH to ANDERSON and Barnes, in exchange for

      184 Even if were duplicitous, a “cure for an otherwise duplicitous indictment is
to give an augmented instruction requiring unanimity on one or the other of the acts
charged within a count that otherwise appear to constitute separate offenses.” See
United States v. Miller, 891 F.3d 1220, 1230 (10th Cir. 2018). The structure of this
indictment plainly allows for appropriate instructions to cure any defect.
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     performing official acts. FINCH offered things of value to
     ANDERSON and Barnes with the intent that they would be
     influenced in the performance of official acts. ANDERSON
     agreed to accept and did accept things of value from FINCH
     with the intent that she would be influenced in the
     performance of official acts related to specific matters, to wit,
     FINCH’s business interests before, including the 17th Street
     project, projects under the ½ Cent Surtax contract, and City
     business for hurricane recovery, as specific opportunities
     arose. Thereafter, ANDERSON used her position as Mayor
     of Lynn Haven to take official action favorable to FINCH’s
     business interests as specific opportunities arose, which
     included voting on measures pending before the Lynn Haven
     City Commission, signing resolutions, contracts, agreements,
     and promissory notes, and pressuring and advising City
     officials to perform specific official acts favorable to FINCH’s
     business interests. ANDERSON agreed to and did perform
     these official acts in favor of FINCH in exchange for things of
     value from FINCH.

ECF 214 ¶125 (emphasis added). Neither Count 1 nor any other count

charges either Defendant with conspiracy related to WorldClaim or ECS.

And only Defendant Anderson is charged substantively with respect to

those matters in other segregated counts.

     The second superseding indictment includes 25 counts charging

offenses other than the conspiracy charged in Count 1. A count that does

not charge any conspiracy cannot be said to charge multiple conspiracies.

     Defendant Finch repeated previous arguments from the prior

motion to dismiss Count 1 of the superseding indictment to support


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dismissal of the 26 counts of the second superseding indictment. Compare

ECF 149 at 8-16 with ECF 225 at 7-18. Defendant Anderson incorrectly

asserts that the government disregarded the Court’s prior order. ECF

226 at 4. They each overlook that the government carefully retooled the

second superseding indictment in accordance with the Court’s previous

order (and accounting for the guilty pleas of co-defendants). The second

superseding indictment is not duplicitous.

     Defendant Finch says in a footnote, however, that 25 non-

conspiracy counts should be dismissed because factual allegations (which

he says contain multiple conspiracies) are incorporated by reference into

the other counts. ECF 225 at 14 n.10. Defendant Anderson makes a

similar argument. ECF 226 at 2. But neither Defendant cites any case,

or any other authority, supporting the contention that such incorporation

of relevant facts makes duplicitous this conspiracy charge, or any non-

conspiracy charges.

     Defendants are incorrect that the facts of each scheme are

irrelevant to each other. See e.g., ECF 226 at 6 (incorrectly asserting that

“[t]he allegations pertaining to the alleged Finch schemes are only

relevant to the offenses arising from those alleged schemes” and [t]he


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same goes for the allegations pertaining to the alleged Erosion Control

Services schemes and World Claim scheme.”). Factual allegations that

Defendant Anderson committed fraud against the City with respect to

ECS and accepted a bribe/kickback with respect to WorldClaim are

plainly relevant to whether she agreed to accept a thing of value from

Defendant Finch with the intent to be influenced in the performance of an

official act. Allegations that Defendant Finch bribed Defendant Anderson

regarding his projects are relevant to her intent regarding the ECS and

WorldClaim schemes. Allegations that Defendant Finch paid a bribe to

Commissioner Barnes are relevant to whether Defendant Finch offered

things of value to Defendant Anderson intending to influence or reward

her for favorable action. See, e.g., United States v. Ellisor, 522 F.3d 1255,

1267-68 (11th Cir. 2008) (holding that similar frauds were admissible to

prove intent to engage in charged conduct). Both the ECS and

WorldClaim schemes are relevant to show why the partial payment for

the Motorhome was eventually made in December 2019, after other

persons were charged with respect to ECS and Defendant Anderson was

interviewed by the FBI in November 2019 and are therefore necessary to

complete the story of the crimes. See, e.g., United States v. Wright, 392


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F.3d 1269, 1276 (11th Cir. 2004) (explaining that “evidence of . . . events

contributed to the understanding of the situation as a whole”).

     Even if such facts were irrelevant to each other, the remedy would

be to strike surplusage. A motion to strike surplusage should not be

granted, however, “unless it is clear that the allegations are not relevant

to the charge and are inflammatory and prejudicial . . . . [T]his is a most

exacting standard.” See United States v. Huppert, 917 F.2d 507, 511 (11th

Cir. 1990) (internal quotation marks omitted) (citing 1 Charles A. Wright,

Fed. Practice and Proc. §127 at 424–29 (1982)). Defendants have not

brought a motion to strike surplusage, likely because such a motion

would undoubtedly fail under the applicable legal standard and they

believe more ground can be made adding a legally insufficient duplicity

claim to the generalized airing of grievances.

     Additionally, Defendant Finch’s supplemental paper (ECF 274 at

4-5 & n.5) asserts, for the first time, and in non-specific terms, that

offenses were improperly joined. Such a claim has no merit. Offenses may

be joined if they “are of the same or similar character, or are based on the

same act or transaction, or are connected with or constitute parts of a

common scheme or plan,” and defendants may be joined “if they are


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alleged to have participated in the same act or transaction, or in the same

series of acts or transactions, constituting an offense or offenses.” See

Fed. R. Crim. P. 8. The allegations of the second superseding indictment

meet that criteria.

     Accordingly, the Court should deny the defense motions to dismiss

the second superseding indictment for duplicity.

     III. This Court should not dismiss the second superseding
indictment with prejudice.

     Defendants seek dismissal of the superseding indictment, claiming

(1) misconduct before the grand jury; (2) failure to timely provide

evidence favorable to the defense; and (3) violation of their Sixth

Amendment rights. The Court should reject these contentions.

        A.   There was not knowingly false testimony or other
misconduct substantially influencing the grand jury’s decision to
indict.

     1. Legal standard

     The Fifth Amendment provides that “[n]o person shall be held to

answer for a capital, or otherwise infamous crime, unless on a

presentment or indictment of a Grand Jury[.]” The grand jury belongs to

no branch of government “but is [instead] a constitutional fixture in its

own right.” United States v. Williams, 504 U.S. 36, 47 (1992)). “It is

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axiomatic that the grand jury sits not to determine guilt or innocence,

but to assess whether there is adequate basis for bringing a criminal

charge.” Id. at 51. In sum, the grand jury’s principal task is to determine

whether probable cause exists and, if so, to return indictments.

      Federal courts must apply an exacting harmless-error analysis to

claims of error or defect in the grand jury process. Bank of Nova Scotia

v. United States, 487 U.S. 250, 254–255 (1988) (citing Fed. R. Crim. P.

52(a)). Where “a court is asked to dismiss an indictment prior to the

conclusion of trial[,] . . . dismissal of the indictment is appropriate only

if it is established that the violation substantially influenced the grand

jury’s decision to indict, or if there is grave doubt that the decision to

indict was free from the substantial influence of such violations.” Id. at

256 (internal quotation marks omitted). Alternative explanations or

interpretations of evidence, or “a mere disagreement with the

Government regarding what the evidence shows or whether the

evidence supports the charges in the indictment,” is “not a proper basis

for setting the indictment aside.” United States v. Gilbert, No. 2:17-cr-

00419-AKK-TMP, 2018 WL 2095832, at *2 (N.D. Ala. May 4, 2018).




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      When faced with a request to dismiss an indictment, a federal

court’s “role must be informed by a recognition that dismissal of an

indictment . . . is an extreme sanction which should be infrequently

utilized.” United States v. DiBernardo, 775 F.2d 1470, 1475 (11th Cir.

1985) (internal quotation marks omitted). Even false testimony “does

not automatically vitiate an indictment based on that testimony; to

dismiss an indictment the district court must . . . find an abuse of the

grand jury process such as perjury or government misconduct.” Id.

      At the evidentiary hearing, counsel for Defendant Finch presented

the case of United States v. Leeper, No. 06-CR-58A, 2006 WL 1455485

(W.D. N. Y. May 22, 2006), as a significant case that supported his motion

to dismiss the indictment. Defendant Finch’s reliance on that case is

clearly misplaced. The district judge in Leeper found that the prosecutor

placed undue influence on the grand jury to return a Second Superseding

Indictment without fully considering the matter, listing several reasons

for the undue influence finding, including “[t]he haste of the proceeding,

the jury’s knowledge that another grand jury had already indicted the

defendant, the prosecutor’s assurances that the error was merely an

‘oversight’ or an ‘omission in paperwork,’ the implication that the


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original grand jury would have fixed the error itself had it not expired,

the immediacy with which the May 16th grand jury was being asked to

return the superseding indictment, and their knowledge that a petit jury

had already been picked and the trial had started.” Id. at *4. The facts

of that case are dissimilar to the grand jury presentation in this case.

Indeed, the Court in Leeper dismissed the indictment without prejudice.

     In conducting its investigation, the grand jury is not bound by the

evidentiary rules and hearsay evidence is admissible. Costello v. United

States, 350 U.S. 359, 363 (1956). Inadequate or incompetent evidence

before a grand jury cannot be a basis for challenging an indictment

because the “[t]he result of such a rule would be that before trial on the

merits a defendant could always insist on a kind of preliminary trial to

determine the competency and adequacy of the evidence before the grand

jury.” Costello 350 U.S. at 363 (1956). As the Supreme Court explained,

“[a] complaint about the quality or adequacy of the evidence can always

be recast as a complaint that the prosecutor’s presentation was

‘incomplete’ or ‘misleading.’” Williams, 504 U.S. at 54. The government

respectfully suggests that what the Supreme Court rejected in Costello




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and Williams is precisely what Defendants tried to do, in part, in their

papers and at the evidentiary hearing.

     Defendants seek dismissal of the second superseding indictment

because the Court dismissed certain counts of the original indictment and

superseding indictment. That afforded Defendants relief from prejudice

regarding those counts. Such errors in those earlier indictments do not

serve as a basis for dismissal of the second superseding indictment

because the proper analysis is the facial validity of the operative charging

document. See e.g., United States v. Vigil, 2006 WL 8445505, *4 (D. N.

Mex. Mar. 20, 2006) (explaining that “[d]efendant argues that, in light of

the prior dismissal of two counts of the Second Superseding Indictment,

there is a real possibility that the Third Superseding Indictment also is

deficient. However, any motion to dismiss the Third Superseding

Indictment will evaluate the facial validity of the indictment, and

[d]efendant’s argument does not met the standard of ‘particularized need’

sufficient to outweigh the need for secrecy in the grand jury process.”).

     The Court has rightly apprehended that this is indeed the correct

framework of analysis. ECF 260 at 1 n.1. Defendants have not provided

any contrary authority. Defense counsel complain, however, about the


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November 2021 grand jury presentation; both the colloquy and the

witness testimony. The Court should reject the complaints as unfounded

in fact or law.

      2. Knowledge of earlier indictments

      A superseding indictment replaces the original indictment. See

United States v. McKay, 30 F.3d 1418, 1424 (11th Cir. 1994). Where there

is no allegation that the grand jury returning an indictment was tainted

by prior grand jury events, a defendant cannot show prejudice from those

events. United States v. Collins, 300 F. Appx. 663 (11th Cir. 2008); United

States v. Brooks, 2012 WL 12961099, *1 (E.D.N.Y. Aug. 24, 2012); United

States v. Bok, 1997 WL 148815, *3 (S.D.N.Y. 1997); United States v.

Fisher, 692 F. Supp. 495, 500-501, 507 (E.D. Pa 1988), appeal dismissed,

871 F.2d 444 (3rd Cir. 1989); United States v. Newman, 534 F. Supp. 1109,

1110 (S.D.N.Y. 1982).

      Defense counsel complained in opening statement that the

government had informed the November 2021 grand jury about previous

indictments.185 There was nothing improper about doing so. See, e.g.,

United States v. Feng Tao, 499 F. Supp. 3d 940, 970-971 (D. Kan. 2020)



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(“The Court finds there is nothing inherently prejudicial about

presenting a superseding indictment to a grand jury, which by definition

conveys that an indictment came before it . . . Unlike the case relied on

by the defendant (Leeper), there is no indication that here the prosecutor

‘placed undue influence on the … grand jury to return the Second

Superseding Indictment without fulling considering the matter.’”);

United States v. Chambers, No. 3:18cr79, 2019 WL 1014850, at *5 (D.

Conn. March 4, 2019) (“grand jury being asked to return a superseding

indictment is always going to know that a previous indictment was

returned”); United States v. Galindo, No.4-053 DAE, 2008 WL 018405, at

*6 (D. Haw. Apr. 4, 2008) (“The Court first notes that GJ #4 would have

been aware that Defendant had been indicted previously based on the

fact that they were considering a Third Superseding Indictment.”).

     Moreover, defense counsel failed to mention that the government

had specifically informed the grand jury that prior actions on indictments

was not probable cause for that grand jury and “[y]ou have to find

probable cause based on what we present to you today”186 Before giving




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a summary (and correct) overview of the expected evidence, the

government informed the grand jury that the testimony presented, not

statements of counsel, controlled the probable cause determination.187

This is consistent with DOJ Grand Jury Practice Manual, Chapter 11.36

which actually suggests that more information should be provided to the

grand jury (“The grand jury should be advised that a superseding

indictment is being presented, the date the original indictment was

returned, the nature of the intended change in the indictment, and the

manner in which the case will be re-presented. They should be advised

that they should deliberate anew on the proposed superseding

indictment, and that they should not give any weight to the fact that a

prior indictment was returned.”).188

      Finally, the November 2021 grand jury was not a novice grand jury.

It met monthly for nine months before that meeting. It had returned six


      187   DX 8 at 3.

      188 The additional detail makes sense when, as the Manual states a preference
for, the same grand jury is asked to take additional action in the same matter. But
where, as here, a new grand jury is considering the matter (because the earlier one
expired) there is no need for such detail, and only an instruction to determine
probable cause based on the evidence presented, not earlier action, which is exactly
how this grand jury was properly instructed. This is not all that different than the
Court sometimes informing a petit jury, during trial, of what is going on, while
instructing them on their proper role.


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superseding indictments in the past, including another one that very

morning.189

     3. Time of presentation

     At the hearing and in papers, Defendant Finch’s counsel

complained that the grand jury did not deliberate long enough.190

Defendant Anderson’s motion contends that the grand juries did not

consider the case for enough time before returning indictments, without

citing any legal authority for relief on that basis. At the hearing, the

Court rightly apprehended there was not any such ground. The Court is

correct. Some cases take a while to present. Some take very little. How

long the grand jury deliberates is not under the government’s control. It

is up to the grand jury to deliberate for as long as they wish before

returning an indictment or not. It is no basis to claim misconduct.

     Defense counsel then asserted in opening statement at the

evidentiary hearing, without any factual basis, that the grand jury

returning the second superseding indictment was rushed. Specifically,

defense counsel stated “[t]hen right before getting started with Mr.


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     Defendants point to a dispute about the nuances of honest services

fraud to claim prosecutorial misconduct before the grand jury.

Defendants’ speculative claim of misconduct is entirely misplaced.

     Despite earlier claiming that the Supreme Court rejected the

“opportunities arise” theory of honest services fraud, ECF 138 at 11, and

failing to cite Eleventh Circuit precedent directly contrary to that

position, see United States v. Roberson, 998 F.3d 1237, 1251 (11th Cir.

2021), Defendants now concede that theory is valid, ECF 241 at 13,

focusing now on a supposed “temporality” issue, recently rejected in trial

jury instructions by this Court over the government’s request that the

pattern instructions be used to avoid appellate issues. See United States

v. Burnette, No. 4:18cr76-RH/EMT, 2021 WL 5987025, at *7-*8 (N.D. Fla.

Dec. 18, 2021) (“To count as a matter that might later come before the

governmental entity, a matter need not be identified at the time of the

payment; it is sufficient if the payment is made in exchange for favorable

treatment on any not-yet-known matter that might later come up for a

vote” and “[n]othing in § 201 or McDonnell suggests an agreement of this

kind is not a bribe”). As the Court has said, the upshot of that bribe-

friendly interpretation of McDonnell “would be open season for [public


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officials] with their hands out and for [bribers] willing to pay them.” Id.

at *7.

         In short, this is not, as Defendant Anderson contends, “a stubborn

position[] of law rejected by the Court.” ECF 236 at 20. It is a correct

statement of the law adopted by the Court in another case. But that

dispute is irrelevant now.

         As it relates to honest services fraud, the transcript reflects that the

government instructed the grand jury according to Eleventh Circuit

pattern instructions, precisely to avoid this sort of claim. If the

Defendants take issue with pattern instructions, it is an issue to raise

with the Eleventh Circuit, should the need arise, and is no ground to

speculatively assert prosecutorial misconduct.

         At the evidentiary hearing, defense counsel asserted that the

government failed to instruct the November 2021 grand jury about

intent.194 That is plainly not correct. The prosecutor read the pattern

instructions, which included the correct statement of law that “[t]o act

with the intent to defraud means to act knowingly and with the specific




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intent to use false or fraudulent pretenses, representations or promises to

cause loss or injury” and “[p]roving intent to deceive [alone] without the

intent to cause loss or injury is not sufficient to prove intent to defraud.”195

      Defendant Finch asserts that the November 2021 grand jury was

improperly instructed on the elements of the Count 1 conspiracy charge,

referring to Eleventh Circuit Pattern Jury Instruction O13.1, and

suggesting that the instruction omitted reference to a required element

of an overt act in furtherance of the conspiracy. That is not correct.

Pattern Instruction O13.1 relates to a conspiracy charge under 18 U.S.C.

§371, which requires an overt act. Count 1 charges a conspiracy under 18

U.S.C. §1349, which does not require proof of an overt act. See Eleventh

Cir. Pattern Jury Instr. O54; e.g., United States v. Feldman, 931 F.3d

1245, 1258 (11th Cir. 2019) (“A conspiracy charge under section 1349

“does not require the commission of an overt act.”). Moreover, the grand

jury had returned an indictment in a conspiracy case (under 21 U.S.C.

§846, which has the same elements) and been instructed on those

elements that very morning.




      195   DX 8 at 12.


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Among other things, the referenced November 4 letter by Defendant

Finch criticized “ignorant people,” discussed his opinion of the case, and

concluded with his statement “As for me, you can kiss my ass.”199 Mr.

Lewis’ letter asserted it would be unethical not to present this

information to the grand jury.200 Yet, at the hearing, Mr. Lewis asserted

that presentation of that very information he demanded be presented

was misconduct, contending “you went over the line there.”201

     As the Court noted, Rule 403 does not apply in grand jury

proceedings. But Defendant Finch’s statement is relevant. And defense

counsel demanded it be presented.

     6. Leading questions to the grand jury witness

     Defense counsel complained about leading questions to Special

Agent Borghini.202 But a court must not dismiss an indictment on the

basis that the grand jury heard exclusively hearsay, or that all the




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questioning was leading. United States v. Brown, 872 F.2d 385, 388 (11th

Cir. 1989).

      7. Information about guilty pleas

      Defendant Finch contends, without citing any authority, that it was

improper to elicit testimony (or preview such testimony in a colloquy)

that certain individuals had been charged and pleaded guilty. ECF 274

at 49. That is not correct. It is entirely proper for the case agent to explain

the source of his information and circumstances that will help the grand

jury asses the reliability of that information; say that the source was an

admitted fraudster. And it is entirely proper to explain what happened

to other persons engaged in criminal conduct, as the Court apprehended

at the hearing.203

      Part of Defendant Finch’s complaint, made repeatedly at the

evidentiary hearing, was that there was not a specific cautionary

instruction to the grand jury that day comparable to Eleventh Circuit

Basic Instruction B10.4 used at trial. But when a grand jury is empaneled

in this District, the Court gives the “Charge to the Grand Jury” that

includes the following instructions:



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        21. The determination of whether a witness is telling the
  truth is something that you must decide. Neither the court
  nor the prosecutors nor any officers of the court may make
  this determination for you. As you listen to witnesses
  presented to you in the grand jury room and hear their
  testimony, remember that you are the judge of each witness’s
  credibility. You may believe the witness’s testimony, or you
  may not believe it, in whole or in part. Determining the
  credibility of a witness involves a question of fact, not a
  question of law. It is for you to decide whether you believe the
  person’s testimony. You may consider in that regard whether
  the witnesses are personally interested in the outcome of the
  investigation, whether their testimony has been corroborated
  or supported by other witnesses or circumstances, what
  opportunity they have had for observing or acquiring
  knowledge concerning the matters about which they testify,
  the reasonableness or probability of the testimony they relate
  to you, and their manner and demeanor in testifying before
  you.
        22. Hearsay is testimony as to facts which are not
  personally known by the witness but which have been told or
  related to the witness by persons other than the person being
  investigated. Hearsay testimony, if deemed by you to be
  persuasive, may in itself provide a basis for returning an
  indictment. You must be satisfied only that there is evidence
  against the accused showing probable cause, even if such
  evidence is composed of hearsay testimony that might or
  might not be admissible in evidence at a trial.

        23. Frequently, charges are made against more than one
  person. It will be your duty to examine the evidence as it
  relates to each person, and to make your finding as to each
  person. In other words, where charges are made against more
  than one person, you may indict all of the persons or only
  those persons who you believe properly deserve indictment.




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Benchbook for U.S. District Judges §7:04 (2013) (most current edition).

Indeed, even defense counsel conceded that it is not necessary to

reinstruct the grand jury on such concepts at every presentation.204

      8. The grand jury testimony of

      Defendant Finch’s counsel disclosed at the February 17 hearing the

intention to call one particular witness, whom he incorrectly described as

Defendant Finch’s former “secretary” and the government would know

who it is.205 The witness that counsel described is                            a

former bookkeeper at Phoenix Construction. Based on prior interactions

with defense counsel, the government suspected the purpose of presenting

the witness’ testimony at the evidentiary hearing was to raise a claim of

grand jury abuse by using it to strengthen an indicted case or in

improperly coercing an interview of an employee of a represented

corporation by threat of having to appear before the grand jury. Neither

potential claim had any merit. Documents the government disclosed to

the defense conclusively refute assertions of grand jury abuse. Defense


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      205 Noteworthy is that with the exception to two law enforcement witnesses
whom the defense asked the government to accept service of witness subpoenas, the
defense did not advise of any other proposed witnesses for the hearing, despite a
contrary representation at the status conference.
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counsel did not call the witness at the recent evidentiary hearing but still

made unfounded accusations of grand jury abuse and improper contact

with a represented party, in part through the cross examination of SA

Borghini.

     The legal standard for this sort of claim of grand jury abuse is well

established. The government may not use a grand jury for discovery

concerning a pending prosecution; however, it may continue the

investigation from which information relevant to a pending prosecution

may be an incidental benefit. See United States v. Alred, 144 F.3d 1405

(11th Cir. 1998). The grand jury may continue to investigate additional

criminal culpability on the part of a previously indicted defendant or the

defendant’s co-conspirators. Beverly v. United States, 468 F.2d 732, 743

(5th Cir. 1972). After indictment, the grand jury may be used if its

investigation is related to a superseding indictment of additional

defendants or additional crimes by an indicted defendant.206 That is what

the government was properly doing and told counsel as much.

     The witness was part of the continuing investigation concerning

additional wire fraud acts or a possible obstruction of justice by Defendant



     206   Justice Manual §9-11.120.
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attempted between Defendant Finch and Defendant Anderson’s

          phone totaling over 60 minutes of conversation.

     A few weeks later, following a conflict hearing and the pretrial

services officer petitioning for Defendant Finch’s pretrial release

violation, on April 27, 2021, a quit claim deed to Defendant Anderson’s

house from the Andersons to Defendant Finch was recorded in Bay

County, which falsely states that $200,000 had been transferred to the

Andersons as of September 4, 2021. If the transaction took place in

September 2020, Defendant Finch permitted Defendant Anderson to live

in the residence she supposedly sold him in September 2020 until the end

of April 2021. Thereafter, Defendant Anderson posted on social media

that she was spending her last night in her house.



                                Accordingly, the government sought the

witness’ testimony before the grand jury as part of an investigation

whether Defendants (or anyone else) had committed additional offenses;

namely additional acts of wire fraud and-or obstruction of justice related

to the attorney-fee payments (Defendants furthering the conspiracy, not




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counsel) and potentially a false deed meant to conceal the nature of such

payments and create a sympathetic cover story.208

      On May 24, 2021, AUSA Kunz issued the grand jury subpoena to

the witness. At the bottom, it bore AUSA Kunz’s name, address, and

telephone number. AUSA Kunz signed his initials next to his name.209

This generally is the same procedure for many other subpoenas the

government issues in this District.210 An attachment to the letter advised

the witness of        rights and indicated the grand jury was investigating

possible violations of criminal law including obstruction of justice and

conspiracy.211 AUSA Kunz provided the subpoena to the case agent with

explicit instructions to serve the subpoena, engage in no substantive




      208  As detailed at length in the second superseding indictment and the
government’s response to the motions to dismiss, Defendant Finch engaged in similar
behavior to conceal the nature of the Motorhome transaction; a bill of sale dated July
2018 and presented to the FBI, which falsely described the nature of a transaction
which occurred in February 2018.

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      210 A more modern practice, made more common through the recent necessity
of telework, is to use digital signatures encoded through the DOJ attorney’s PIV card
and personal identification number.

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conversation, and to instruct the witness to contact the USAO witness

coordinator to arrange travel to Tallahassee for testimony.212

      On May 25, 2021, the case agent served the subpoena. Per the

issuing AUSA’s express instructions, the case agent did not engage in

substantive discussion with the witness, but simply gave the witness

instructions to contact the USAO witness coordinator to arrange travel to

Tallahassee for testimony. The agent documented the interaction in a FD-

302 report.213

      The next day, defense counsel called the government, made

suggestions of grand jury abuse, and requested to know what the

government was looking into. The government confirmed issuance of the

subpoena, declined to give specifics to preserve the integrity of the

testimony, but assured counsel that the government was investigating

whether uncharged offenses had been committed.




      212


      213                                                                    During
Special Agent Borghini’s cross examination, defense counsel questioned SA Borghini
about the FD-302, suggesting to the Court it had not been produced to the defense. It
had been, a month before the hearing. A report about serving a subpoena is generally
not discoverable anyway.
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     On May 27, 2021, Mr. Lewis sent a letter to the Deputy Attorney

General of the United States regarding the subpoena to the witness. The

letter made unfounded and unsupported claims that the subpoena was

“retaliatory and vindictive.” In the letter, Mr. Lewis made false

accusations that the subpoena was “unsigned” (it was initialed) and that

the agent had directed the witness to contact the FBI office to avoid

appearing before the grand jury (which did not happen, and which defense

counsel could not have learned from the witness, who counsel had not

spoken to, and who did not relay such information). The letter did not

disclose the source of the information counsel relied upon.214

     On the morning of June 1, 2021, defense counsel sent an email to

the prosecutors and the U.S. Attorney. In the email, counsel stated they

believed the government was claiming to investigate obstruction of justice

and asserted “We believe you are improperly using the Grand Jury to

gather evidence on a case that has already been indicted.”215




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     On June 10, 2021, the United States Attorney and several

Assistants met with Mr. Lewis and Mr. Forman regarding this matter. At

nearly the beginning of the meeting, Mr. Lewis again complained that the

FBI agent served an “unsigned” subpoena and had instructed the witness

to contact the FBI office to avoid appearing before the grand jury.

Knowing what had actually happened, U.S Attorney Coody politely

advised Mr. Lewis he might want to check his facts on the matter. Again,

Mr. Lewis did not disclose the source of his information.

     On October 5, 2021, AUSA Grogan and the former FBI case agent

had a phone conference with defense counsel, Mr. Forman. The lead up to

the phone conference included defense counsel asking that Defendant

Finch not be arrested following a second superseding indictment and

demanding the government present evidence the defense thought was

exculpatory to the grand jury. The government responded that it planned

to ask for a summons and asked specifically what evidence the defense

wanted presented.

     During the ensuing phone conference, defense counsel stated the

government had previously rejected defense presentations. AUSA Grogan

asked for any example where that had happened. Defense counsel first


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brought up service of the subpoena on the witness (who counsel

erroneously described as “Finch’s secretary,                 that the U.S.

Attorney had told the defense to check its facts, that the defense had done

so, and the defense’s facts were correct. Having knowledge of the

subpoena, the written instructions to the case agent, and the case agent’s

FD-302 report, AUSA Grogan asked what the source of the defense

information on the subject was. To the best of counsel’s recollection, after

a noticeable pause, defense counsel stated the information came from the

witness. The government asked specifically if the defense had obtained

the information directly from the witness. Counsel indicated that they

had.

       That was not true. At the status conference on February 17, 2022,

defense counsel indicated that it may subpoena the witness to testify at

the evidentiary hearing scheduled for March 8, referring to her again as

“Finch’s former secretary.” Defense counsel stated (incorrectly) that the

witness had been “interviewed.” ECF 255 at 5. Because of the

representation that she was no longer an employee of Phoenix

Construction, on February 18, 2022, two different FBI agent subsequently

interviewed the witness and                . Both confirmed the material


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aspects of the serving case agent’s account and completely refuted the

defense’s false assertions. But the witness stated that after the grand jury

testimony, defense counsel approached          to find out the substance of

     testimony. According to defense counsel, this was Mr. Lewis.

According to the witness, the conversation did not last long, the attorney

never spoke about anything related to service of the subpoena, and the

witness never said that the agent offered to speak with     in lieu of grand

jury testimony because that “definitely never happened.”218

      During the hearing, defense counsel stated, during cross

examination of Special Agent Borghini, that the witness quit           job at

Phoenix because “            was so scared and didn’t know—afraid        was

going to get into trouble.”219 However, on February 18, 2022, the witness

told two other FBI Special Agents that           quit working at Phoenix

because the work environment was “toxic.”220




      218


      219                                           This is another instance
of defense counsel testifying.

      220



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     In correspondence referred to above, and at the evidentiary

hearing,221 defense counsel implied government misconduct because the

witness had been personally served with the grand jury subpoena. That

accusation is unfounded for several reasons.

     First, Federal Rule of Criminal Procedure 17(d) provides “[t]he

server must deliver a copy of the subpoena to the witness[].” Defense

counsel cites no authority for the proposition that doing exactly that is

misconduct.

     Second, to the extent defense counsel was referring to bar rules

regarding communication with represented parties, Rule of Professional

Conduct 4-4.2 provides that, “[i]n representing a client, a lawyer must not

communicate about the subject of the representation with a person the

lawyer knows to be represented by another lawyer in the matter, unless

the lawyer has the consent of the other lawyer.” But the rule expressly

provides for direct personal service on the witness. Id. Defense counsel

was immediately aware of the subpoena and had every opportunity to




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move to quash it but did not. And, indeed, Defendant Finch’s conduct

created a conflict of interest for Mr. Lewis anyway.222

      In sum, it was entirely proper, and not misconduct of any sort, to

personally serve this witness with legal process.

      9. Testimony about attorney’s fees

       Defendant Finch contends that “[i]mproper and prejudicial

testimony regarding attorney’s fees was presented to the grand jury. ECF

274 at 58. Such testimony and evidence was not improper.

      Among other things, the government must prove at trial that

Defendants Anderson and Finch conspired to and did engage in a scheme

to defraud the City of its right to the honest services of Defendant

Anderson when she was Mayor. The government expects that a defense

at trial will be that the stream of benefits flowing from Defendant Finch

to Defendant Anderson and her husband were made from longstanding

friendship and not as part of a corrupt bargain. Evidence that an

individual selected an attorney, hired an attorney, and-or paid an

attorney to represent another suspected member of a conspiracy is highly



      222 In the government’s experience, this usually results in the corporation
retaining separate counsel for the employee witness to avoid such conflicts. It does
not appear that Phoenix Construction did that for
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relevant to show the existence and nature of a criminal conspiracy. See

United States v. Simmons, 923 F.2d 934, 949 (2d Cir. 1991); In re Grand

Jury Proceedings (Pavlick), 680 F.2d 1026, 1028-29 (5th Cir. 1982) (en

banc) (plurality opinion); United States v. Hodge & Zweig, 548 F.2d 1347,

1354 (9th Cir. 1977); United States v. Gotti, 771 F. Supp. 552, 560 (1991).

Here it tends to show the benefit stream was part of a corrupt bargain

for Defendant Anderson and Defendant Finch to take care of each other

as their relative abilities allowed; the Mayor can steer City business to

Defendant Finch; Defendant Finch can provide the Mayor with benefits,

and when the Mayor is criminally charged, select and pay an attorney

who did good work for Defendant Finch in the past, even while

technically representing another entity. As Defendant Anderson put it to

the former City Manager, “you have my back and I’ve got yours.” As one

court aptly said, “the jury could conclude that [the] benefactor payments

. . . reflected interests other than friendship or a detached concern for the

[S]ixth [A]mendment rights of colleagues.” United States v. Castellano,

610 F. Supp. 1151, 1154 (S.D.N.Y. 1985). It is also a basis to impeach

Defendant Anderson’s testimony for bias should she testify. See United

States v. Frazier, 944 F.2d 820, 824 (11th Cir. 1991).


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          Q: And is it accurate that Mrs. Anderson wanted trees
     removed so she could move her motor home to and from her
     property; is that correct?

              A: Correct.

           Q: And on the far wall -- first of all, was there an easement
     next to the property?

          A: There was an easement on the property and back of her
     property.

          Q: Was the City obligated to remove the debris from her
     property because of the easement?

              A: They were not.

           O: And, in fact, the director of public records for Lynn Haven
     would not have authorized the city to pay for the removal; is that
     correct?

              A: That’s correct.225

The government was and is aware that a 20-foot easement for

stormwater drainage runs on the western boundary of the property (514

Virginia Avenue) directly to the east of Defendant Anderson’s property

(513 Tennessee Avenue) and abutting it. That is why the prosecutor

asked the question “was there an easement next to the property?”226 The

conjunction “and” in the answer does not really make any sense. The


     225   DX 7 at 92.

     226   DX 7 at 92 (emphasis added).
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that was billed to the City.230 In addition to the earlier check, she

approved accounts payable reports totaling $1,782,290 between October

26, 2018, and January 31, 2019.231 Defendant Anderson told the FBI that

she usually learns what the City has paid when the list of checks paid is

sent to her.232 Yet she claimed that she learned that the City was paying

ECS large amounts of money only when she had invoices pulled (without

suspicion of fraud), and this apparently led her to go to the Sheriff.

     Contrary      to     Defendant   Anderson’s   contention,   the   second

superseding indictment does not allege that she approved other invoices

or checks. The charges related to ECS are not that she participated in the

whole of the ECS scheme. The charges related to ECS are far narrower;

Count 17 (related to hurricane cleanup at her property under 18 U.S.C.

§666); and Counts 18 and 19 (related to fraudulent invoices submitted to

the City for same).

     This information shows Defendant Anderson had knowledge of

ECS’ role in the cleanup contrary to her statement to FBI in November



     230   ECF 214 ¶77.

     231   ECF 214 ¶87.

     232


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2019. Knowledge that the City had paid at least $2 million in only a few

months tends to show that her “whistleblowing” may have been in part

motivated by concern that law enforcement was searching Michael

White’s phone, which contained evidence of ECS performing work at her

property, which Defendant Anderson did not disclose to the Sheriff on

April 1.

     The case agent testified accurately that checks are issued twice

monthly “after which a report is generated and it is distributed for

approval by Mayor Anderson, the city manager, and finance people and

so forth.”233 When asked about this again, the case agent referenced his

prior testimony and said again “[t]hat check run is then that’s printed off

at the time after check run has specific signature it’s circulated to people

approving the check, such as Mayor Anderson, the city manager and the

finance director.”234 The case went on “[i]n this particular case, the check

was captured. It was issued to ECS, and Mayor Anderson signed

acknowledging the check had -- these checks had been issued, one of them




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being the ECS check.”235 In context, the whole testimony accurately

conveys what happened and was not misleading.

     13.   Whistleblowing

     Defendant Anderson claims the case agent gave “inaccurate”

testimony about her not being a “whistleblower.” The case agent testified

that the investigation began before Defendant Anderson brought

information to law enforcement.    236   That is correct. It did. Clearly

Defendant Anderson came to law enforcement in the early stages of the

investigation. But this is not black and white. Defendant Anderson made

her report just after the arrest of Michael White (and as

was promising Michael White that he and Defendant Finch would take

care of him). The U.S. Attorney’s Office had an open matter from 2018

regarding corruption in that area. BCSO officers located text messages

on Michael White’s phone indicative of corruption independent of

Defendant Anderson’s report to the Sheriff.

     Defendant Anderson says that the case agent “suggested Anderson

delivered an insignificant ‘piece of paper to the sheriff with some


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numbers on it.’ ”237 The case agent accurately testified “[s]he had brought

a piece of paper to the sheriff with some numbers on it and was concerned

about the amount of money that had been paid to ECS.” That testimony

is correct. Defendant Anderson brought a sheet of paper with numbers

on it listing invoices paid to ECS.238 This is the document:




The case agent explained, further, that Defendant Anderson made public

statements that she made this report because she recently learned about

the amount of money paid to ECS. However, she had given prior approval

(the $224K check) and given after the fact approval of reports of $1.7



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million to ECS, and she did not disclose to the Sheriff that work on her

property (including removing trees and moving furniture around)239 was

included within the invoices until after the search of ECS and the

backdated invoices were found on April 12, 2019.

      14.   Other city employees

      The defense complains about the case agent’s testimony regarding

City Manager having work done at other City employees’ properties. The

alleged inaccuracy pertains to the both the category of employees (police

officers versus all employees) and work performed (tarping roofs versus

other work). The agent’s testimony was not accurate. But the thrust here

is a meritless selective prosecution claim masquerading as grand jury

misconduct. There is a significant difference between City employees

accepting tarps and such when the City Manager authorizes it (a City

Manager who was accepting cash bribes and having ECS work at his

residences, and does not have the best judgment) and the Mayor directing

the City Manager to have trees removed from her lawn (and lots of other

work) so she could park the Motorhome she and her husband received




      239 Notably, the stormwater easement described above does not run through
living rooms.
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from a contractor (Finch), just after she had steered $3.4 million the

contractor’s way. Defendant Anderson has not shown that this

inadvertently inaccurate testimony substantially influenced the grand

jury’s decision to indict.

      15.   The ownership of the Motorhome

      Defendant Anderson contends that the government made “repeated

false statements to Grand Jury 3” regarding the ownership of the

Motorhome. ECF 273 at 52.

      The second superseding indictment accurately describes the

Motorhome transaction: (1) Defendant Finch paid the City Engineer

$75,000 for the Motorhome; (2) the City Engineer transferred title to the

vehicle to Defendant Anderson’s spouse; (3) Defendant Anderson’s spouse

registered the vehicle in his name and falsely asserted to state

authorities that the sale price was $35,000; (4) the Andersons paid no

money for the Motorhome at that time; (5) Defendant Anderson was

routinely seen about town driving the vehicle; (6) Defendant Anderson

ordered the City Manager to have ECS clean-up her property after the

hurricane so she could move what she later publicly claimed was “our”

Motorhome; (7) the Andersons paid Defendant Finch $20,000 by check 22


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months after receiving the Motorhome and only after individuals were

indicted in the related case and the FBI interviewed Defendant Anderson

about her involvement with ECS; and (8) Defendant Finch gave the FBI

a bill of sale which falsely described the nature of the transaction; that

               had paid $35,000 for it by July 2018.240

     The grand jury was presented with state registration documents

showing that                  registered the vehicle               241   It was

presented with the July 2018 bill of sale which Defendant Finch provided

to the FBI.242 The case agent accurately testified to all of these facts. The

Motorhome is a marital asset and a thing of value provided to Defendant

Anderson for her use and enjoyment (and her spouse’s) regardless of

whose name it was titled. And, finally, the case agent referred to the

Motorhome the same way Defendant Anderson did in her public

statement about the cleanup: “I requested the former City Manager to

have the City remove three trees from this easement, two which had

fallen on our pole barn preventing us from moving our motorhome back


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underneath it, and the third tree had blocked access to the power pole

from . . . preventing us from getting electricity connected to our home.”243

It is no misrepresentation to refer to the Motorhome exactly as she does.

     Defendant Finch asserts that the case agent “affirm[ed] the

prosecutor’s unsworn testimony that ‘[Grand Jury Exhibit 41]’ was

signed by both               and at some point and Ms. Anderson,” citing DX

7 at 68 at this portion of the transcript.244 That makes no sense. DX 41 is

an FD-302 report, not a grand jury exhibit. That portion of the transcript

relates to Defendant Finch’s former employee notarizing the July 2018

bill of sale, not the vehicle registration documents.

     16.      The 17th Street Project

     Defendant Anderson contends that “[t]he case agent testified that

the City awarded James Finch the opportunity to finance the

construction      project    without    considering   alternative   financing

opportunities.” ECF 273 at 44-45                           That was not the

testimony. The testimony was this:




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     244   ECF 274 at 30 n.22 (
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     Q: Were there any other vendors or any advertisements
     made for other people to say, hey, I can finance it, too, for
     your, or was it just given to Mr. Finch?

     A: No. There was no advertisement or solicitation for
     additional financing or a competitive bid for any financing.

That answer is correct. There was not.

                                               After awarding Defendant

Finch’s company a $335,132 contract, the City expanded it to $3.7

million. The City did not solicit or advertise for other contractors before

doing so.

     Defendant Anderson says that the case agent testified inaccurately

that the city attorney was concerned about financing the project with a

city vendor. ECF 273 at 44-45. According to the FD-302 report, the city

attorney told the FBI that there were “bonding issues” regarding

Defendant Finch financing the project and the promissory note (to pay

Defendant Finch’s company) may be unenforceable. The case agent

answered affirmatively to a question asking if the City Attorney was

“concerned about the City basically financing work with a vendor.” The

government believes that SA Borghini was referring to the “bonding

issues” described in the FD-302 and concedes that this testimony was



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          Q: And, in fact, an email was sent by Mr. White to
                ; is that correct?

          A: Yes.

          Q: And he referenced the thing, a directive of Mayor
     Anderson you can no longer – you must start leaving your
     vegetative debris or chips in Mr. Finch’s pit; is that correct?

          A: That’s correct.

          Now, have you investigated that
                                                they were already
     dropping off the vegetative debris or chips?

           A: Yes, they had a site already located. They had a pit.
     They had set up, they had monitors there and so forth. And
     they actually delivered chips there through the 1st through the
     5th until they could get Mr. Finch’s site set up to receive the
     chips.

     Defendant Anderson contends that “Grand Jury 3 was left to

believe that the Government possessed documentary evidence that

Anderson directed Michael White to send all City debris to a pit owned

by James Finch. ECF 273 at 52. The Court should reject that contention

because (1) the government provided the grand jury with exhibits 1

through 63, including grand jury exhibit 34 (which included the email);

and (2) the email is (contemporaneous) documentary evidence that




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attached and shows the minutes were signed on March 14, 2017, and

annotated this incorrect date on the timeline. This error was inadvertent.

     Notably, though, the second superseding indictment accurately

puts the date of the vote on February 28, 2017, and accurately notes that

the City Manager recommended the action. ECF 214 ¶19. This was

because the prosecution team used the source documents (the

Commission meeting agenda and minutes) to prepare the operative

charging document. The defense has not shown that this minor error

substantially influenced the grand jury’s decision to return the second

superseding indictment, especially in light of the fact that Defendant

Finch gave Barnes $42,500 in other checks in proximity to other official

acts, as accurately described in the second superseding indictment.

     21.   Comparison with other Phoenix business

     Defendants both point to an exchange near the end of the

presentation. Defendant Finch’s counsel submitted a letter dated

November 8, 2021, which outlined, among other things “General

Exculpatory Evidence” which counsel wanted presented to the grand

jury, including the assertion “Phoenix has been awarded over $700 MM

in government (federal and state) construction contracts, and less than


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8% of this amount was awarded by the City of Lynn Haven over the past

40 years.” The prosecutor referenced this assertion and asked the case

agent “Is that significant to you that 8 percent was obtained

fraudulently?253 The question was based on a factual premise not

supported by evidence presented to the grand jury and should not have

been framed that way. But the answer did not endorse the premise,

focused on the relevant time frame, and was essentially correct:

     I mean, I don't understand what counsel is trying to get at.
     He’s comparing a 40-year period, performance of Phoenix
     construction, right? So I don’t understand how that is relevant
     to the last five years of Phoenix Construction and [the] City of
     Lynn Haven.254

The point thus conveyed to the grand jury was that if certain, specific

evidence indicates favorable treatment was obtained through bribery, it

is not particularly significant how much other business one otherwise

obtained.

     22.    Conclusion

     In the end, after twenty separate complaints of grand jury

misconduct, there were five issues. There was inadvertently inaccurate



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testimony about the scope of City employees who received assistance at

their residences shortly after the storm and, perhaps, the scope of work

done. There was not specific testimony recounting what Michael White

said about the initiation of the ½ Cent Contract. There was inadvertently

inaccurate date on the timeline about the date of a vote. There was

inadvertently inaccurate testimony about the former City Attorney’s

opinion that he was concerned about financing the 17th Street project

with a City vendor. And there was a question with an incorrect factual

premise that the case agent did not endorse but answered correctly.

     The grand jury had evidence before it which was more than

sufficient to find probable cause regarding the charged offenses including

four hours of testimony and 63 exhibits. It has not been established that

any of those five things, singularly or cumulatively, substantially

influenced the grand jury’s decision to indict, or that there is grave doubt

that the decision to indict was free from the substantial influence of such

violations. Bank of Nova Scotia, 487 U.S. at 254–255. But even if there

was, the appropriate remedy would not be dismissal with prejudice.




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           B. Discovery Issues

      Defendants complain about government discovery productions.

This is not a basis to dismiss the second superseding indictment.

              1. Legal standard

     A prosecutor has a constitutional obligation to provide a defendant

with all evidence in the government’s possession materially favorable to

the defense. Brady v. Maryland, 373 U.S. 83 (1963). “[C]onstitutional

error results from the withholding of Brady evidence only if ‘there is a

reasonable probability that, had the evidence been disclosed to the

defense, the result of the proceeding would have been different.’” United

States v. Simms, 385 F.3d 1347, 1357 (11th Cir. 2004). There is no

suppression by the government of exculpatory evidence, and thus no

Brady violation, if either the defendant or the defense attorney knows

before trial of the allegedly exculpatory evidence. See, e.g., Felker v.

Thomas, 52 F.3d 907 (11th Cir. 1995).

     The government recognizes that this Court’s local rules and

discovery orders go further than Brady, requiring early disclosure of

favorable evidence without regard to materiality. On this point,

“[e]vidence is favorable to the accused if it either tends to show that the


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accused is not guilty or if it impeaches a government witness.” United

States v. Gil, 297 F.3d 93 (2d Cir. 2002) (emphasis added).

     The defense is not entitled under Brady to know everything a

government investigation has unearthed. See United States v. Arroyo-

Angulo, 580 F.2d 1137, 1144 (2d Cir. 1978). However, Defendants appear

to hold an erroneous view of what is “favorable” information. The position

seems to be that if the government interviews a witness, the witness does

not provide only inculpatory evidence, then it is necessarily exculpatory.

That is wrong.

     Consider, for example, United States v. Bryan, 868 F.2d 1032 (9th

Cir. 1989). There the indictment charged false representations to

members of a class of victims. Id. at 1037. The district court concluded

that certain statements by members of the class were neither material

nor exculpatory. Id. The defendant argued that “because the prosecution

alleged that [he] made false representations to members of the class of

victims described in the indictment, any statement by any member of this

class in which such false representations were not mentioned or reported

is exculpatory within the meaning of . . . Brady,” seemingly arguing that

“any information gleaned from any witness by a federal prosecutor that


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does not incriminate the defendant necessarily exculpates him.” Id. The

Ninth Circuit upheld the district court order denying discovery of such

statements, explaining that the defendant’s “proposition is supported by

neither law nor logic.” Id.

     Likewise, the individual must testify as a government witness for

impeachment information to be discoverable; Giglio does not apply to non-

government witnesses. See, e.g., United States v. Aleck, 2017 WL

4799787, at *1 (D. Nev. Oct. 24, 2017); see also United States v. Gilbert,

57 F.3d 709, 711 (9th Cir. 1995) (explaining that a party cannot call a

witness simply to impeach the witness’ credibility).

     The delayed disclosure of Brady material may be grounds for

reversal (post-conviction), but only if the defendant can show prejudice;

for example, if the material came so late that it could not be effectively

used. United States v. Bueno-Sierra, 99 F.3d 375 (11th Cir. 1996); United

States v. Bailey, 123 F.3d 1381 (11th Cir. 1997); United States v. Beale,

921 F.2d 1412 (11th Cir. 1991). Impeachment evidence· should be

disclosed in time to permit defense counsel to use it effectively in cross-

examining the witness. United States v. Jordan, 316 F.3d 1215, 1253

(11th Cir. 2003); see also United States v. Knight, 867 F.2d 1285 (11th Cir.


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1989) (information disclosed to defense during trial was not so late that

the information could not be effectively used); United States v.

Burroughs, 830 F.2d 1574 (11th Cir. 1987) (disclosure of favorable

treatment afforded witness’s wife was made during government's re-

direct examination of the witness; because jury learned about this Giglio

material there was no cause for setting aside the verdict).

     In determining a remedy for untimely disclosures, and assuming a

violation, courts are to consider “the reasons for the Government’s delay

in affording the required discovery, the extent of prejudice, if any, the

defendant has suffered because of the delay, and the feasibility of curing

such prejudice by granting a continuance or, if the jury has been sworn

and the trial has begun, a recess.” United States v. Euceda–Hernandez,

768 F.2d 1307, 1312 (11th Cir. 1985). Dismissal for “a discovery violation

in the criminal context must meet the two requirements of prejudice and

willful misconduct, the same standard applicable to dismissal for

a Brady violation,” and appellate courts “do not expect that trial courts

will dismiss cases under their supervisory powers that they could not

dismiss under Brady itself.” See Gov’t of Virgin Islands v. Fahie, 419 F.3d

249, 258–59 (3d Cir. 2005).


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                 2. No-Contact List

     Defendant Anderson now complains that the government failed to

follow the magistrate judge’s instruction to provide a no-contact list to

her. ECF 273 at 3. The government concedes a list should have been

provided earlier. But Defendant Anderson is in no position to complain.

The single person the government identified at the hearing, and that the

magistrate judge specifically directed her to avoid, is James Finch. Phone

records clearly establish that Defendant Anderson and Defendant Finch

were having extensive contact; among other things, for Defendant Finch

to procure and pay for her legal expenses, and later extensive

communication immediately after the government brought the conflict

issue to defense counsel’s attention for the apparent purpose of concocting

a cover story.

     Defendant Finch is not prejudiced either. First, immediately after

the magistrate judge ordered Defendant Finch not to have contact with

City officials, Defendant Finch violated that condition by doing so at least

eight times. Second, just a few days ago, and long after the no-contact list




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was provided, Defendant Finch violated it again by contacting two

persons listed on it about the substance of the case.255

                 3. Recorded Statements

     Defendant        Anderson   complains   about   recorded   statements

produced in March 2021.256 They relate to the municipal rebuild. There

were no allegations in the original indictment about the rebuild.

Accordingly, the recorded statements of Defendant Anderson concerning

the municipal rebuild was not a “relevant recorded statement” of

Defendant Anderson to the original indictment under Rule 16(a)(1)(A),

and not provided in discovery for the original indictment. An investigation

of the municipal rebuild activity by Defendant Anderson and unindicted

conspirator Finch continued until the return of the superseding

indictment, when Defendant Finch was charged. There were allegations

in the superseding indictment about the municipal rebuild as a result of

further investigation.

     Accordingly, the recordings were thus disclosed in the second

production in April 2021. In its discovery letter, the Government



     255


     256   ECF 273 at 4-5.
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explained to Defendants the additional discovery related to the

superseding indictment.

                4. Production of City Commission Meeting Recordings

      Defendant Finch contends the government committed Brady

violations by not producing recordings of two City Commission meetings

on February 28, 2017, and September 12, 2018.257 The February 28, 2017,

meeting concerns approval of the 30-year promissory note. The

September 12, 2018, meeting concerns approval of a task order on the ½

Cent Sales Tax Contract and an addendum to the 17th Street Financing

Agreement. Defendant Finch is incorrect for the following reasons.

      First, the government did not have those recordings in its

possession when providing discovery.

      Second, there is no Brady violation where, as here, the documents

in question are publicly available and where the defense was reasonably

aware of the underlying event that gave rise to the document. See, e.g.,

Bell v. Bell, 512 F.3d 223, 234-235 (6th Cir. 2008). Here the defense

represented it did not want a protective order to apply to this type of


      257 The February 28, 2017, meeting relates to the approval of the 30-year
promissory note described above. The September 12, 2018, meeting relates to the 17th
Street project and the ½ Sales Tax Contract.


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document (publicly available records) because it had obtained such

documents itself from public sources such as the City. Defendant

Anderson’s attorneys (who are obviously working closely with Defendant

Finch’s attorneys) gave copies of the minutes of those meetings to the

government in January 2021. Defendant Anderson was present at both

City Commission meetings, and they related to Defendant Finch’s

projects. Defendants cannot plausibly claim they were not aware of the

recordings or minutes if for no other reason than they are bringing them

up now and are aware of the contents.

               5. Redactions in five FD-302 reports

      As noted in earlier filings, and to briefly recap, the government

produced voluminous discovery in September 2020 and April 2021 to the

respective Defendants. The government compiled approximately 300

pages of witness interview reports in late May and sought a protective

order, in part due to now-confirmed information that Defendant Finch

had disclosed the previously provided government discovery to another of

the FBI’s investigative targets,                          258   The government


      258 The government presented that information in its December 22, 2021,
response. In his reply, Defendant Finch did not address that information or dispute
that he had so disseminated that material. Defendant Finch had a long business
relationship with that individual. The government has subsequently confirmed that
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said he heard that                     provided other things of value to Major

Stanford.

       Major Stanford told the government that                          contributed

to the gift of a used motorcycle in 2010,259 that Mickey White did some

(compensated) work at his residences but denied receiving other things

from                    .260   On March 2, 2022, Major Stanford told the

government in an interview that he had paid for his sister’s funeral with

his credit card.

       Following his testimony on March 31, on April 4, 2022, Major

Stanford contacted the FBI and stated that he had recently contacted the

funeral home to obtain confirmation of what he told the government and

the Court, and confirmed that he paid $3,000 on his credit card, but

learned that                      made an additional payment the next day

unbeknownst to him.261 The government disclosed that information to the


       259Major Stanford testified about this at the hearing, explaining he thought it
was a bit much and tried to give it back. In response, defense counsel falsely stated
“Because there’s nothing in [the FD-302] about you trying to give the motorcycle back,
going back in forth. Did you tell them that?”
                         The FD-302 specifically documents that Major Stanford
provided that information during the interview.

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       261



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defense, who promptly brought it up at the start of the April 6 hearing.

However, defense counsel’s reference incorrectly suggested that

       paid the entirety of the Major Stanford’s sister’s funeral expenses,

which is not what Major Stanford relayed.262

      Additionally, Mickey White said he “heard” from

                                            that                      and Major

Stanford “set up” former Assistant State Attorney

            a criminal history reflective of a history of drug addiction. The

government understands that although                        died of



       subsequently reported to the BCSO that                         was alive,

had been kidnapped, and was being held for ransom.

      The term “set up” can mean various things, but the meaning most

applicable here is “something done by deceit or trickery in order to

compromise or frame someone.”263 Public records equally available to

defense counsel conclusively show that Major Stanford did not “set up”



      262


      263Merriam-Webster.com, “Set Up,” Definition 8, https://www.merriam-
webster.com/dictionary/setup.


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      On September 13, 2017, Sergeant Bailey, Major Anglin, and Major

Stanford viewed a subsequent jail video recording showing

passing contraband from                   —a message between             and

                    , who      also represented, and who was also an inmate

at the jail.270

      On September 25, 2017, Sergeant Bailey viewed another video of

            passing           what appeared to be a business card but was

actually a “half kite,” apparently a message between                     and

            271On   September 29, 2017,         gave a sworn audio recorded

statement to Sergeant Bailey.               unequivocally denied doing so.272

According to Sergeant Bailey, Major Stanford was not in his chain of

command and did not ask him to do anything or pressure him in any

way.273




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      272


      273



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relationship with Major Stanford? And if, as defense contends, Major

Stanford leaked information to                 about the search warrant

before it was executed (as the former denies), how is it that never came

up in the many meetings Defendant Finch had with                    while

they were working together to thwart the investigation and prosecution?

If the defense has direct evidence that Major Stanford leaked the

impending search to                   why did they not present it at the

hearing? And, as indicated above,           perjury prosecution, and his

opinion about Major Stanford’s role, appear to be common knowledge

that the defense cannot credibly claim to have been unaware of. Indeed,

Defendant Anderson’s former attorney represented            in that case.

     Fourth, based on the information the government had prior to the

defense motions (which the defense has not substantiated), the material

in question was not “favorable” to the defense. That               helped

pay for a used motorcycle twelve years ago says nothing about whether

Defendants are guilty of the charged offenses. The opinions of

      (and-or               for that matter) about Major Stanford do not

tend to show that either Defendant did not commit the charged offenses,

and do not impeach a government witness. See, e.g., United States v. Fort,


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55 F. App’x 222, 224 (6th Cir. 2002) (witness statement that investigator

was “dirty” not favorable to defense where it lacked a factual basis).

     The leading case in the Eleventh Circuit on limiting cross-

examination at trial of law enforcement officers concerning pending

investigations or involvement in corruption is United States v. Novaton,

271 F.3d 968 (11th Cir. 2001). There the defense attempted cross

examine one government agent on his potential involvement in the

“Miami River Cops Scandal” where that officer had been suspended with

pay for four months but was later reinstated and no criminal charges

were ever brought against that agent, ‘‘although he was formally

reprimanded for failing to document a conversation with an informant.’’

Id. at 1004. The defendants had argued to the district court that cross-

examination of the officer regarding this matter should be permitted

because it could show the agent’s bias or motive to lie. The defendants

also sought to cross examine another government agent concerning one

pending investigation and one completed investigation where the same

source had sent the DEA a letter alleging that the agent had stolen

cocaine during a drug seizure. Id. at 1004–05. The district court held that

those investigations were ‘‘‘irrelevant, and even if [they were] relevant,


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[their] probative value is outweighed by [their] prejudice.’ ’’ Id. at 1005.

In affirming the district court’s evidentiary rulings, the Eleventh Circuit

reasoned that the ‘‘insertion’’ of one agent’s involvement in the ‘‘Miami

River Cops Scandal,’’ where the agent ‘‘was thoroughly investigated in

connection with that scandal, but was never charged with any crime and

only received a reprimand for failing to document a conversation with an

informant,’’   was   irrelevant   and     ‘‘any   potential   relevance’’   was

substantially outweighed by the likelihood of unfair prejudice and thus

was properly excluded under Rule 403. Id. at 1007. Similarly, the

Novaton Court also affirmed the exclusion of the ‘‘unproven allegations’’

that the second agent had stolen cocaine, ruling that the injection of the

evidence into trial ‘‘had the obvious potential to cause serious and unfair

prejudice to the government.’’ Id. at 1007.

       The Novaton decision was relied upon by the Eleventh Circuit four

years later to affirm the exclusion of unproven citizen complaints against

a police officer (that included allegations of planting evidence or

brutalizing arrestees). United States v. Taylor, 417 F.3d 1176 (11th Cir.

2005). In Taylor, unlike the Novaton case which involved an effort to

introduce evidence solely under Rule 608(b), the defendant also


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attempted to admit the prior claimed instances of “racial harassment,

brutality, and evidence planting” under Rule 404(b) as evidence that the

officer had racial bias and thus had a motivation to frame the defendant

and lie at trial. 417 F.3d at 1180. The Eleventh Circuit held that the

defendant’s arguments were “trumped under Rule 404(b) for similar

reasons that they were under Rule 608. The Taylor case has been

followed in affirming the denial for cross-examination of unsubstantiated

complaints to internal affairs of a police officer’s alleged aggression and

being an “over aggressive guy” in dealing with citizens, United States v.

Edwards, 307 Fed Appx.340, 345(11th Cir. 2009) and limiting cross-

examination of an officer on previous incidences of unproven misconduct,

United States v. Robinson, 341 Fed Appx.340, 546, 548 (11th Cir.

2009). Based upon the prevailing case law, the defense cannot at trial

cross-examine unfounded allegations against BCSO Major Stanford

claiming corruption.

     Moreover, it has been abundantly clear, and disclosed to the defense

long ago, that Mickey White had the invoices created at

behest shortly before the search. The defense theory seems to be that

Major Stanford is corrupt, that he leaked information about the


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impending search to                      , and that                     had Mickey

White create the invoices to falsely implicate Defendant Anderson.

      Until the defense made that unsubstantiated accusation, the

government had no reason to believe that had happened. The defense

claimed to have direct evidence that Major Stanford leaked the

information but did not produce any such evidence at the hearing or

otherwise. While Mickey White’s valuation estimates may not be

particularly reliable,281 ECS crews did perform work at these 3

residences, which was billed to the City, and Mickey White had the

invoices made before                       told him that the FBI was “coming”

the night before the search. And, according to Mickey White, Defendant

Finch told                      that Defendant Anderson was going to the

Sheriff and thus had already given                         a reason to tell Mickey

White to have the invoices created.

      A final point about Major Stanford. Defendant Finch asserted that

“the reports implicated BCSO Major Jimmy Stanford in criminal



      281   The defense position on this shifts given the circumstances. The defense
points to Mickey White’s estimate about the value of work performed at Major
Stanford’s residence years ago as a substantial benefit. But then the defense says his
estimate of work performed at Defendant Anderson’s property (and that of her
relatives) is grossly inflated.
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                             Recall that text messages establish that Mickey

White got over to Defendant Anderson’s residence on November 9, 2018.

No one has suggested that ECS was still at Defendant Anderson’s

property on November 21, 2018. This information is not “favorable” to the

defense. It is irrelevant to the pending charges.

                 6. CHS reports

     In response to the Court order to produce witness interview reports,

the prosecutors directed the FBI to provide all of same. The new case

agent identified several Confidential Human Source (“CHS”) reports. The

prosecutors reviewed the reports, assessed they had information relevant

to the issues raised by the defense, produced redacted reports to the

defense, and filed a motion under Rule 16(d) regarding the redacted

portions, which the Court granted. The government was not certain that

CHS reports were included within the Court’s order but produced them

anyway in an abundance of caution.

     The first CHS report from a contact on                      , relates to

                   allegedly performing work at BCSO Major Stanford’s

residence, which the CHS believed he was never charged for. This



     287   2019.12.30 FD 302 Joshua Anderson at 6.
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information is cumulative of information contained in David “Mickey”

White’s FD 302-report, which was attached as a sealed exhibit to

Defendant Finch’s motion to dismiss, and which was disclosed to the

defense in November 2021.

     The second CHS report from a contact on                               ,

relates to                and other individuals. Certain portions relate to

                   relationship with Major Stanford and former Assistant

State Attorney                discussed in Defendants’ pending motions to

dismiss. Nothing in this report is “favorable” to the defense.

     The third CHS report from a contact on                          . The

CHS indicated that Defendant Finch stated he would not be indicted on

federal charges but                    and               (David “Mickey”

White) would be indicted. If this report is accurate, then Defendant Finch

was aware of his own self-serving statement of belief. And if Defendant

Finch believed in September 2019 that                   would be indicted,

one wonders why Defendant Finch would continue to associate with

                 for the next two years and obstruct the government’s

investigation of                  by sharing discovery with someone he

suspected would be indicted. Nothing exculpatory there.


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     The fourth CHS Report from a contact on                    , pertains

to the aftermath of                        and the FBI’s execution of a

search warrant                                   The CHS reported that

Defendant Finch and others were worried about

                                                . This is inculpatory, to a

limited extent, and not exculpatory.

     The fifth CHS report from a contact on                       , relates

to Defendant Finch attempting to purchase City property in 2019.

Defendant Finch’s proposal was, in part, to pay the City for its property

by providing $50,000 in fill dirt from the land in question. Information

that Defendant Finch’s proposal was to pay the City for its land with the

City’s own dirt, which Defendant Finch was undoubtedly aware of (since

he made the proposal), is in no way exculpatory to the charges in any

indictment.

     The last CHS report from a contact on                    relates to a

City trash removal contract. According to the CHS, a bidder on the

contract approached Defendant Finch looking for his help with the bid

and spoke to him about three weeks before the final bid was taken. Finch

talked all about the bid and explained the bid but did not say that he


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made. And the government included the substance of the invoice creation

in an earlier filing on June 11, 2021:

     Relevant here, though, is that long after the work was
     performed, and suspicions were raised about ECS, D. White
     says that the owner of Company A (as described in the
     indictments) came to him and asked if he had invoices for
     work performed at Defendant Anderson’s residence. When D.
     White said he did not, the owner of Company A replied that
     he had "better get some." At D. White's direction, an ECS
     employee prepared invoices backdated to when the work was
     performed in November 2018.

ECF 157 at 4. These details were expressly alleged in the second

superseding indictment. ECF 214 ¶93. There was no suppression of this

information.

               8.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” FD-302 of                 288             was interviewed on a

separate corruption matter unrelated to the charges in the second

superseding indictment pertaining to Defendants.



                                   . Lt. Mathis summarized the interview




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in his report. SA Borghini participated in the interview. Lt. Mathis

indicated in his report that SA Borghini would create another report.289

The government has searched for but cannot locate such a report and

does not believe one was created. The information provided by

is not favorable to the defense.

              9.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” FD-302 of                .290 On            , Lt. Mathis and SA

Borghini interviewed




                           . This has nothing to do with the charges in the

second superseding indictment and did not provide any proof of fraud or

a crime against ECS. Lt. Mathis summarized the interview in his




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report.291 The government has searched for but cannot locate such an FD-

302 report and does not believe one was created.

              10.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” FD-302 of                     .292 On                   Lt Mathis and

SA Borghini interviewed                   .



                                    .

       Lt. Mathis summarized the interview in his report.293 The

government has searched for but cannot locate such an FD-302 report

and does not believe one was created. Nothing in this interview is

interview is “favorable” to the defense or even relevant to the charges.

              11.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” FD-302 of                      .294 Lt. Mathis and SA Borghini



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     292


     293


     294      The date of the interview on        is incorrect.


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municipality. The government produced the report to the defense after

reviewing            None of this has anything to do with this case.297

               13.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” FD-302 of                .298




           This relates to a separate public corruption investigation,

completely unrelated to the charges of the indictment, and relates to

possible other crimes in another municipality. None of this has anything

to do with this case. Lt. Mathis summarized the interview in his report.299

The government has searched for but cannot locate such an FD-302

report, and does not believe one was created.




     297


     298


     299



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fraud and corruption investigation and is totally unrelated to the charges

of the second superseding indictment. It is not “favorable” to the defense.

              16.

     At the evidentiary hearing, Defendant Finch complained about the

“missing” BCSO report of interview of                   .303




                        Lt Mathis interviewed

The report of the interview was included in Lt Mathis’ report,304 which

was produced by the March 1, 2022, deadline, and which defense thus

had a month before representing it had not been produced. It is not

“favorable” to the defense.




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                  17.

       At the evidentiary hearing, Defendant Finch complained about the

“missing” BCSO report of interview of                        .305




                                                    . Lt. Mathis interviewed

                                The report of the interview was included in

Lt Mathis’ report,306 which was produced by the March 1, 2022, deadline,

and which defense thus had a month before representing it had not been

produced. It is not “favorable” to the defense.

                  18.

       At the evidentiary hearing, Defendant Finch complained about the

“missing” BCSO report of interview of                  .307 The BCSO report

of           contains similar information that was included in the FBI 302

of           on                    that was provided to the defense on July


       305


       306


       307



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19, 2021. The BCSO report of the interview was included in Lt Mathis’

report,308 which was produced by the March 1, 2022, deadline, and which

defense thus had a month before representing it had not been produced.

It is not “favorable” to the defense.

                19.

     At the evidentiary hearing, Defendant Finch asserted that the

           , FD-302 relating to              contained Brady material.309




                                          .310 It is not “favorable” to the

defense.




     308


     309


     310


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extent anything is “favorable” to the defense (doubtful), it was already

disclosed long ago.

               22.

     At the evidentiary hearing, Defendant Finch asserted that the

            BCSO report relating to                       contains Brady

material.313




                                                                           ,

which they have admitted to in plea documents disclosed to the defense.

This report is cumulative of the           report described above. To the

extent anything is “favorable” to the defense (doubtful), it was already

disclosed long ago.

               23.

     At the evidentiary hearing, Defendant Finch asserted that the

           BCSO report relating to            contains Brady material.314




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     This FD-302 report of               was provided to defense in July

2021, so the defense already had detailed information about

                                                             . The

report is not Brady or Giglio information.

              30.

     At the evidentiary hearing, Defendant Finch asserted that FD-302s

relating to                              contain Brady material.321 The




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reports relate to their traffic stop of             for potential impaired

driving.             told the FBI that                did not seem to be

impaired and he wrote a citation relating to                       driver’s

license and allowed someone to pick him up.               said he thought

                   was impaired. This is not related to the pending

indictment and was part of a separate corruption investigation that was

looking at corruption activities by                       with the

                                                                           It

is not “favorable” to the defense.

               31.

      At the evidentiary hearing, Defendant Finch asserted that an FD-

302 relating to                   contains Brady material.322 This is an

interview of the

                                             .




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                35.

     At the evidentiary hearing, Defendant Finch asserted that a

           FD-302 report relating to              contains Brady material.326

This is an interview of                      concerning a separate, unrelated

corruption investigation of                                           . This

information is not relevant to the charges in the indictment and is not

Brady or Giglio information.

                36.

     At the evidentiary hearing, Defendant Finch asserted that an

                   , FD-302 report relating to               contains Brady

material.327




                                                                     rd. This

information is not relevant to the charges in the indictment, and is not

Brady or Giglio information.




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                37.

      At the evidentiary hearing, Defendant Finch asserted that a

                  , BCSO report relating to                 contains Brady

material.328 This interview relates to a




                                              This is an interview of a

            concerning a separate, unrelated corruption investigation of

                                  . This information is not relevant to the

charges in the indictment and is not Brady or Giglio information.

                38.

      At the evidentiary hearing, Defendant Finch asserted that a

                      , FD-302 relating to                 contains Brady

material. 329




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                                                          This interview

relates to a separate fraud and corruption investigation and is totally

unrelated to the charges of the pending indictment. This information is

not relevant to the charges in the indictment and is not Brady or Giglio

information.

               39.

     Defendant Anderson complains about the interview of

         by BCSO Investigator Chance and contends (inaccurately) that

it was only produced in March 22 pursuant to Court order. ECF 273 at

25-26. That is not correct; the government disclosed this report to

Defendants in July 2021:




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                                                  .332

     Defendant Finch contends that “[t]he government’s use of

           testimony is another dramatic example of suppressing Brady

information and actively misleading the Grand Jury and the defense.”

ECF 274 at 24. That is not correct on several levels.

     The government has not “used”                       testimony and has

not decided whether to do so. The government has interviewed




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              43.     Conclusion

     For these reasons, the government respectfully submits that it did

not willfully suppress information favorable to the defense. Defendants’

motions had the effect of accelerating the compilation of material for the

Jencks production. To the extent any of the material is arguably favorable


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to the defense, and should have been included in earlier productions, the

government regrets the oversight. However, now that the defense has

been provided every witness report, agent note, or transcript the

government possesses months for trial, there is no prejudice to the

defense.

           C. Sixth Amendment issues

     At the hearing and in their supplemental papers, Defendants raise

Sixth Amendment claims. The Court should reject those claims as

unfounded.

     1. Factual Background

                    is a former

Assistant State Attorney

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                                                                   .340 As

noted above, he was arrested, prosecuted, and convicted of introducing

contraband into the county jail and perjury.




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      SA Borghini served in the FBI for 26 years.341 In May 2019, SA

Borghini served a subpoena on                  for records and they met to discuss

the production.342

      While on probation for those convictions,                   was arrested for

workers compensation fraud.343                                                  , was

a subcontractor for ECS in October 2018.344 The investigation determined

that he employed more than 4 people. The BCSO arrested                      on June

23, 2020. While enroute to the BCSO, he was read his Miranda rights

and waived them.345 SA Borghini was informed that                        wanted to




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      345                                                       During SA Borghini’s
testimony, defense counsel questioned him about FBI policy regarding, apparently
utilizing something from 1981 and printed from the internet, to suggest misconduct
in not obtaining a written advice of rights waiver form. Because defense counsel did
not show the document presented to the witness to the Court or the government,
which he represented to be FBI policy, it is not clear what it is. But SA Borghini’s
actions were in accord with the actual FBI policy, which provides that “[w]hile an
express waiver, including signing a waiver portion of the FD-395, is preferred, waiver
may be inferred, in some instances, from the actions and words of the interviewee
after advice of rights are given.” It is a moot point, though, because SA Borghini did
complete the form.


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     On October 27, 2020,            relayed that                 came by

           house and stated “can’t trust anybody,” “          told

       that           was working with the FBI regarding campaign

contributions to                          and that Defendant Finch was

concerned about things and has a 1 terabyte box (discovery) that

      had access to. 358

     On November 12, 2020,               relayed that, according to

       another Assistant State Attorney told                   that

was “meeting with the feds and to be careful.”359           further related

that Defendant Finch provided                        discovery (which the

government had produced to Defendant Anderson’s attorney).360

              began working in the          office in February 2021 as an

employee of                 .361




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     2. Analysis

     The Sixth Amendment provides that “[i]n all criminal prosecutions,

the accused shall enjoy the right . . . to have the Assistance of Counsel for

his defence.” A defendant therefore has the right to exclude admissions

elicited by government informants in the absence of counsel once the

right to counsel has attached after the initiation of formal charges. See

generally Maine v. Moulton, 474 U.S. 159 (1985); United States v. Henry,

447 U.S. 264 (1980); Massiah v. United States, 377 U.S. 201 (1964). This

right to counsel is specific to the particular offense charged. Texas v.

Cobb, 532 U.S. 162, 167–68 (2001).

     “[T]he primary concern of [this] line of decisions is secret

interrogation by investigatory techniques that are the equivalent of

direct police interrogation.” Kuhlmann v. Wilson, 477 U.S. 436, 459

(1986). “[T]he Sixth Amendment is not violated whenever—by luck or

happenstance—the [government] obtains incriminating statements from

the accused after the right to counsel has attached.” Moulton, 474 U.S. at

176. “[A] defendant does not make out a violation of that right simply by

showing that an informant, either through prior arrangement or




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      Once a defendant's right to counsel has attached, government

intrusion into the attorney-client relationship violates the Sixth

Amendment if the defendant can show a realistic possibility that he or

she was prejudiced by that intrusion. See Weatherford v. Bursey, 429 U.S.

545, 558 (1977) (no violation when undercover agent and defense counsel

met twice because no evidence that agent conveyed defense strategy to

prosecution). Courts have identified the following factors to consider in

determining whether the requisite amount of prejudice needed to

establish a Sixth Amendment violation is present: (1) whether the

government's intrusion was intentional; (2) whether the prosecution

obtained confidential information pertaining to trial preparations and

defense strategy as a result of the intrusion; and (3) whether the

information obtained produced, directly or indirectly, any evidence used

at trial, or was used in some other way to the defendant's substantial

detriment. E.g., United States v. Noriega, 764 F. Supp. 1480, 1489 (S.D.

Fla. 1991). The defendant bears the burden of proving a government



nom. Holton v. United States, 142 S. Ct. 283 (2021). And for such a claim to
theoretically succeed, “the actionable government misconduct must relate to the
defendant's underlying or charged criminal acts.” Jayyousi, 657 F.3d at 1112. Here it
does not.


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            to obtain Defendants’ defense strategy. There is no evidence

            ever relayed any such information to the government regarding

his conversations with Mr. Lewis or Mr. Forman. The government did

not know Mr. Lewis enlisted               to help the defense until Mr. Lewis

announced as much at the hearing.375 But even if                   had provided

such information, there is no rule of law precluding such a third party

from disclosing such information to the government or preventing the

government from receiving it. See Weatherford, 429 U.S. at 554-559 (“The

mere presence of a government agent, informant, or cooperating witness

at conferences between defendant and counsel does not violate the sixth

amendment.”). And nothing specific was communicated to the

government. E.g., United States v. Ofshe, 817 F.2d 1508, 1515 (11th Cir.

1987) (no violation because no specific facts overheard through listening

device planted on counsel and none communicated to prosecutor).

      There was no constitutionally impermissible intrusion. Nor was

any such intrusion intentional; the government cannot very well send a

witness to chat up the defense counsel about counsel’s strategy when it




      375In candor, the government has heard that                  car has recently
been seen at Defendant Finch’s place of business with some regularity.
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has no idea the defense counsel decided to chat up the witness. The

government had no reason to think Mr. Lewis would solicit advice from

            Nor is there any prejudice; the government does not know what

was said (and did not ask                at the hearing). In any event, the

defense strategy of attacking the prosecution with a barrage including

the kitchen sink is rather obvious.

      Second, regarding interactions outside the presence of counsel,

Defendant Finch contends that “[i]t is unequivocally clear that defense

strategies were disclosed to the government and its agent when

as a government operative intentionally and surreptitiously acquired

knowledge relating to defense strategies through active participation in

joint defense meetings between                         and Defendant Finch.”

ECF 274 at 71. But the evidence does not support that contention either.

      The government had no information that Defendant Finch had a

joint defense agreement with                      , so any intrusion would not

be intentional.376 But there was none; in general, communications

between                     and Defendant Finch outside the presence of



      376 It is Defendants’ burden to establish such a privilege exists. No record
evidence has been offered on the subject.


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